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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLOMBIA



UNITED STATES OF AMERICA,               )
et a.l.r                                )
                                        )
                     Plaintiffs,..      )       Civil Action No.
                                        )              82-3583
          v.                            )
                                        )
THE HOUSE OF REPRESENTATIVES OF         )
THE UNITED STATES', et al .. ,          }
                                        )
                     Defendants ..      )




               POINTS AND AUTHORITIES IN SUPPORT OF
             PLAINTIFFS' MOTION FOR SUMMARY JODGMENT
        AND IN OPPOSITION TO DEFENDANTS' MOTION TO DISMISS



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                                    Gorsuch
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                     UNITED STA.TES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICAr et al.r        )
                                         )
                      Plaintiffs,        >
                                         )
          v.                             )     Civil Action No.
                                         )
THE HOUSE OF REPRESENTATIVES OF          )          82.-3583
  THE UNITED STATES, et al.,             )
                                         )
                      Defendants.        }
                                         )
~~~--------~~----------------~


               POINTS AND AUTHORITIES IN SUPPORT OF
              PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT
        AND IN OPPOSITION TO DEFENDANTS' MOTION TO DISMISS
                               INTRODUCTION
     This suit for declaratory relief raises one legal issue:             May
Congress compel. an Executive Branch official to produce sensitive
materials from open law enforcement files even though the dis-
closure. of those documents would, in. the opinion of the President
and the Attorney General, impair the President's ability to take
care that the laws wilI. be faithfully       executed~    Although the
Executive-Branch. has historically· withheld information of this
sort from. Congr:ess under a claim of privilege, this is the first
time in history that the Legislative Branch has cited an official
of the Executive Branch for contempt of Congress for doing so.
     By this. suit,.. we seek from the Judicial. Branch a resolution
of the unprecedented constitutional impasse. which now exists
between the other two coordinate branches of the federal
government.    Only judicial intervention can prevent a stalemate
between the other two branches that could result in a partial
          Case 1:22-cr-00200-APM Document 34-2 Filed 08/17/22 Page 12 of 82
paralysis of governmental operations.            Historically, judicial
resolution of controversies between Congress and the Executive has
been rare, because confrontations such as the present one have
been rare.      Yet judicial intervention is· now urgently needed,
because it is the only way left to resolve in an acceptable
fashion the critically important issues: that give rise to this
unique suit.
     We ask this Court to declare that the Executive acted
lawfully in withholding under a claim of privilege,. certain
documents sought by Congress ...
                            STATEMENT OF THE CASE
     On December 16, 1982 -- for the first time in history --
a House of Congress held the head of an Executive agency or
department in. contempt..       That evening, the House of Representa-
tives voted a contempt citation against Anne M. Gorsuch,
Administrator of EPA,. for her refusal to furnish a limited number
of sensitive law enforcement documents demanded. by a subcommittee
subpoena.... Mrs. ·Gorsuch ts refusal. to produce these documents was
based on a determination -         shared by the President and the
Attorney General -- that their production would impair performance
of the President'·s· constitutional. duty to .. take care that the laws
be faithfully executed .. •      The House's contempt vote occurred even
though its subcommittee had no basis for concluding it had a
particular need for the documents in question, since it had not
yet reviewed the vast number of other documents EPA. was producing
for it.     By certifying the contempt citation to the United States


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Attorney for this District pursuant to 2 lJ.S.C. §§192, l94y
the House of Representatives has demanded that the Executive
Branch subject Mrs .. Gorsuch to criminal prosecution for with-
holding the documents.            The Chairman of the Subcommittee has gone
so far as. to threaten the United States Attorney and. even the
Attorney General      ~ith      impeachment unless such a criminal action is
commenced.      128 Cong. Rec. Hl0046 (daily ed. Dec. 16, 1982); 129
Cong. Rec. H30 {daily ed. Jan. 3, 1983).
     The events leading to this extraordinary situation are not in
dispute.     They stem from an investigation by the Subcommittee on
Oversight and Investigations of the Committee on Public Works and
Transportation [the       11
                               Levitas Subcommittee"] of EPA's efforts to
enforce federal laws governing hazardous waste contamination of
water resources ..     H.R. Rep.· No .. 968,.. 97th Cong., 2d Sess. 7
<1982).     The investigation included the manner in which ·EPA was
impiementing the Comprehensive Environmental Response Compensation

*"/ Section     194 of Title 2. provides in relevant part:

                  Whenever a witness summoned as
             mentioned in section l.92 fails to appear
             to testify or fails to produce any books,
             papers, records, or documents, as
             required,. • • (byJ any committee or
             subcommittee of either House of Congress,
             and the fact of such failure or failures
             ia reported to either House while Con-
             gress is in session, •.•• it shall be
             the duty of the • •. . Speaker of the
             House, to certify, and he shall so
             certify, the statement of facts aforesaid
             under the seal of the • • • House •
             to the appropriate United States
             attorney, whose duty it shall be to bring
             the matter before the grand jury for its
             action.


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and Liability Act of 1980, 42 U.s .C. § 9601                 ~   seg., commonly
known as "the Superfund Act."
                      A.        Executive Responsibilities For
                                Enforcing The Superfund Act.
      The    Superfund Act was designed to provide the federal
government with the tools to abate the risks posed oy hundreds of
inactive and abandoned hazardous waste sites across the country.
The Act provides two oasic mechanisms by which the federal
government may effect the cleanup of such sites.                    One mechanism
allows the government to expend money from the $1.6 billion
"Superfund,ft which is derived from congressional appropriations
and taxes on crude o_il, -petroleum products and certain chemical
products.     ~           42   u .. s.c. §9631 .. Once spent, the money may be
recovered from parties made liable for the cleanup costs pursuant
to Section 107 of the Act..               See 42 U.s.c .. §960·7.   The second
mechanism authorizes the President to require the Attorney General
to institute judicial. proceedings ta "·secure such relief as may be
necessary to abate"' an imminent and substantial danger to the
public health or welfare or the environment.                   ~    42   u.s.c .. §9606 ..
~generally           United States v .. Charles Price, 688 F.2d 204 C3rd
Cir. 1982) r United States v •. Reilly Tar              &   Chemical Corporation,
546 F •. Supp .. 1100 CD. Minn .. 1982)..           Declaration of Robert M. Perry
( IYPerry Dec ..   1
                    •),    submitted herewith, para .. 4.
      On August 14, 1981, President Reagan issued Executive Order
12316, "Responses. to Environmental Damage."                   By that order, the
President delegated part of his authority to carry out the
provisions of the Superfund Act to the Administrator of EPA.
Pursuant to that delegation, EPA now has the authority to identify


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hazardous waste sites and to determine, among other things, the
parties: potentially responsible for the generation of the
hazardous wastes located there.            The Administrator of EPA may
request the Attorney General to institute judicial actions, but
only the President may require, him to do so •              ~   42   u. S • c.
§9606..     Perry Dec .. , para. 5 ..
      At bottom, both mechanisms are part of an overall law
enforcement effort designed to protect the public health and
welfare and· the environment from the effects of the release or
threatened release of hazardous substances which may present an
imminent and substantial. danger.           42   u.s.c.   §9604(a).,     In addition
to the institution of judicial proceedings, the Act provides broad
enforcement powers, authorizing the President or his delegate to
issue administrative orders necessary to protect the public
health and welfare or the environment and to ·require designated
persons ta furnish information about the storage, treatment,
handling: or disposal. of hazardous substances ..            See 42     u.s.c.
§§9606, 9604(e)(l).,        The Act also contains criminal penalties.             42
U.S.C~     §9603..    Perry Dec .. , para. 6.
      As with any new program, the implementation and enforcement
of the Superfund Act has required the government to put into place
the policies and personnel needed to carry out the statutory
mandates.       In the two years since· the Superfund Act became law,
EPA has pursued the implementation of this new statutory mandate
with vigor.          It has developed and published the National Con-
tingency Plan required by Section 105 of the Act, 42                   u.s.c.
§   9605, which serves as the basis for Superfund-financed cleanups.


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~.   47 Fed. Reg. 31180 (July 16, 1982).          It has developed an
Interim Priorities List identifying the 160 sites which pose the
greatest. risk to the public health and welfare and the
environment.     With assistance and input from the states, EPA has
recently published a proposed National Priorities List identifying
the 418 sites which, in EPA's judgment,. require priority in use of
the Superfunq to e:ffect cleanup.        ~    47 Fed.• Reg. 58476 {December
30, 1982>.*/     It has developed and published enforcement
guidelines, as required by Section 106 of the Act, in consultation
with the Attorney General ..      ~    47 Fed. Reg. 20664 (May 13, l982J.
Perry Dec. , para.. 7 •
     EPA has also pursued the enforcement of the Superfund Act.
Since the passage of the Act, EPA has sent more than 1,760 notice
letters, undertaken Super.fund-financed action at 112 sites
involving the obligation of more than $236 million, instituted
Super.fund claims in 25 judicial. actions and obtained two criminal
convictions..    In its hazardous. waste site efforts, the government
has reached settlements. in 23 civil. actions providing for the
expenditure of more than $121 million to conduct cleanup opera-
tions.    I:n addition,. the Agency and the Department are actively
negotiating- with responsible parties concerning the cleanup of 56
sites around the country.        A recent judicial decision under the

~/   The National Priorities List is required by Section 105(8)(B)
of the· Act, 42 cr.s.c .. §960SC8)(B). Completion of the list must be
preceded by notice and opportunity for public comment, 42 1J.S.C.
§9605, para. 1, and may also be subject to legislative veto. 42
cr.s.c. §9655. It is not yet known when the preparation of the
Nation~l Priorities List will be completed.




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Superfund Act termed the government's approach in these cases
"reasonable from the standpoint of the long-range public inter-
est."     United States v. Seymour Recycling Corporation, Civil
Action No .. IP-80-457-C, _        F. Supp..       , (S.D. Ind.• Dec .. 15,
1982.) Slip Op. (Attachment A hereto), 17·..         Perry Dec., para. 8.
        EPA's goal in the implementation of the Superfunq Act is, of
course, to effect cleanups as expeditiously as possible for the
protection of the public health and welfare and the environment.
Since the Superfund cannot pay for the cleanup of all sites and
since enforcement litigation is complex a;nd time-consuming,                 EPA
has adopted an approach which seeks in the first instance to
obtain cleanup from parties it has identified as being responsible
for or having contributed to the presence of hazardous substances
at the sites.      If voluntary cleanup cannot be achieved, the Agency
then determines whether it wil.l spend Superfund monies and sue for
cost recovery under Section 107 or use its enforcement authority
under Section 106 to obtain cleanup ..         Perry Dec., para .. 9.
        Before any meaningful contact with responsible parties can
occur or administrative or judicial enforcement proceedings can be
                                         .
initiated, substantial. time must be· spent on investigation and
case preparation.       Of necessity, this is a time-consuming,
resource-intensive process...       It includes studying the nature and
extent of the hazard present at sites, identifying potentially
responsible parties and evaluating the evidence which exists or
must be generated to support government action.              This initial
investigation is conducted by EPA attorneys and technical staff.
Since many sites have literally hundreds of "generators" --



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 parties who produced or sent hazardous substances to the site --
 the initial investigation of such a site typically will consume
 hundreds of hours and involve the examination of tens of thousands
 of documents.     Perry Dec., para .. 10 ..
       Each continuing.. investigation is treated by EPA as an
 enforcement matter, since the government will, in almost every
 instance, proceed against responsible parties either for cost
 recovery or for injunctive relief.            Moreover, even where voluntary
 settlements are obtained, EPA develops· a strategy for conducting
 negotiations which is part of its           ~verall   enforcement effort.   The
 staff which conduct the investigations are part of the Office of
 Enforcement Counsel and the Off ice of Solid Waste and Emergency
 Response,. which are charged with the development and implementa-
 tion of EPA's enforcement program in the hazardous waste area.              At
 an early· stage in the case development process, prior to the time
· EPA formally refers a case for the institution of judicial
 enforcement proceedings,. a Department of Justice attorney is
 assigned to assist in the case. evaluation and development process.
 Perry Dec .. ,. para •. llr Declaration of Carol E. Dinkins ( 11 Dinkins
 Dec. 11· ) , attached hereto,. para. 5 ..
       Once a case strategy has been developed, EPA notifies
 responsible parties that it intends to take action at the site
 unless they undertake an adequate program to clean up the site.
 Typically, following the issuance of notice letters, EPA enters
 into negotiations with responsible parties to reach an agreement
 which would require those parties to clean up the site.              Such
 negotiations may involve hundreds of potentially responsible


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parties and millions of dollars in cleanup costs.           Moreover, EPA
may settle the case with some but not all parties and then have to
continue negotiations as to the remaining parties.           Perry Dec.,
para. 12.
     Because the enforcement process can be lengthy and extremely
complex,. an. enormous amount of paperwork is generated.          This
includes data on the amounts, nature,-and origin of waste present
at a site; records of interactions with state and local gover.nment
officials; records of the storage or disposal facility itself, as
well as of the generators, treaters, transporters, and handlers of
the substances which found their way to the sites.           It also
includes correspondence with responsible parties, contractors,
state officials, and representatives of other federal agencies,
legal opinions and interpretations, internal memoranda on such
matters as negotiation strategy, rights and remedies of the
parties, case strengths and weaknesses, and notes and logs from
meetings and telephone: conversations.        Perry Dec., para. 13.
              B •.   EPA's. Efforts To Cooperate With The
                     Levitas Subcommittee Investigation
     On March 10, 1982, the Levitas Subcommittee· opened a series
of hearings. on certain environmental matters, including implemen-
tation of the Superfund Act .. H.R. Rep. No. 968, 97th Cong., 2d
               */
Sess. 7 <1982).-   Several EPA officials testified at
numerous hearings before the Subcommittee and numerous EPA
documents were made available to the Subcommittee.            Id. at 9.

*/ That report, hereafter "the Committee Reoort," is the
Committee's official account of the alleged contempt of Congress
by Mrs. Gorsuch.


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The only documents not made available to the Subcommittee were
documents from certain law enforcement files.           Id. at 11.
      Apparently unhappy with this limitation, Subcommittee
Chairman Levitas sent a letter to Mrs. Gorsuch on September 15,
1982 requesting "all [Superfundl information being reported to or

otherwise being obtained by the       o.s.   Environmental Protection
Agency or any others acquiring such information on behalf of the
agency." Perry Dec. 15 and Exhibit A.
      In response to the Subcommittee's concerns, EPA made avail-
able to the Subcommittee almost all the documents from EPA's files
on. the 160 interim priority sites..         EPA declined, however, to
produce a small number of documents generated by government
attorneys and other enforcement personnel in the development of
potential litigation...    Those documents, which were part of open
law enforcement files, include sensitive memoranda and other-
sensi ti.ve papers which identify parties potentially liable. under
· the Act and. which discuss the strengths and weaknesses: of the
government's, case against them, legal issuesr anticipated
defenses:r timetables: and other enforcement plans, negotiation and
litigation strategy,. the names of potential witnesses, their
anticipated testimony and other evidentiary matters..            Perry Dec.,
para. 16.   In short, EPA withheld documents which in litigation
would. be characterized as sensitive attorney work-product
material.-*/


~/   ~Hickman v. Taylor, 329 U.S. 495 (1947).     While we believe
that the sensitive work-oroduct nature of these documents is more
than amply established by the declarations submitted herewith, we
are willing to submit the documents to the Court for an in camera
inspection should the Court determine that such an examination is
necessary.


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     After this, there were a number of meetings, exchanges of
letters and telephone conversations between the Subcommittee, on
the one hand, and EPA and the Department of Justice on the other.
EPA sought to accommodate the Subcommittee's concerns about the
withheld. documents in a. manner which would meet the need to
               I
prevent their premature disclosure..         The Subcommittee attempted to

assure EPA that, if EPA produced those doct:iments to the Subcommit-
tee, an effort would be made to preserve their confidentiality.
However, such documents, if produced, could be disclosed to other
members of Congress and that Congress could decide to make the
documents public even if EPA objected ..        Perry Dec., para. 19,
Exhibit B, Exhibit Cat l-2 and Exhibit Eat 7.
                       C..   The November 22 Subpoena

     On November t2, 1982, the· Committee served on Mrs. Gorsuch a
subpoena. calling for her to appear before the Subcommittee on
December 2, 1982 and to produce at that time the following
described   documents~

                   al.I. books, records, correspondence,
                   memorandums, papers, notes and
                   documents drawn or received by the
                   Administrator and/or her
                   representatives since December 11,
                   1980, including duplicates and
                   excepting shipping papers and other
                   commercial or business documents,
                   contractor and/or other technical
                   documents, for those sites listed as
                   national priorities pursuant to
                   Section 105C8)(B) of [the Superfund
                   Act.]
l?erry Dec., para. 20 and Exhibit D.         Even though   EPA   had not
promulgated the above-mentioned statutory list of national
priority sites, EPA nonetheless undertook, as a matter of


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accommodation to the Subcommittee, to begin to gather all docu-
ments pertinent to the Agency's Interim Priorities List of 160
sites.       Some of those 160 cases were at that time in litigation
while others were in earlier stages of development and
negotiation·.         While gathering those documents, EPA segregated
sensitive law enforcement documents for separate review.                  Perry
Dec • ,    para.     21.
          Because the incipient controversy was assuming more critical
significance, it was brought to the attention of the Attorney
General and by him to the President at this til't\e·.            Perry Dec.,
para .. 22.        After reviewing the matter, President Reagan wrote
Mrs. Gorsuch         instructin~   her to cooperate with the Subcommittee.to
the fullest extent possible.            He also instructed her, however,
                       that sensitive documents found in
                       open law enforcement files should
                       not be made available to Congress
                       or the public except in extraordi-
                       nary circumstances~ Because
                       dissemination of such documents
                       outside the Executive Branch would
                       impair my solemn responsibility to
                       enf.orce the law, I· instruct you and
                       your agency not to furnish copies of
                       this category of documents to the
                       Subcommittee in response to their
                       Subpoena.
Perry Dec .. , para •. 23 and Exhibit E.
          On the day the President wrote his memorandum to
Mrs. Gorsuch, the Attorney General sent a letter to Chairman
Levitas indicating that
                       "it has been the policy of the
                       Executive Branch throughout this
                       Nation's history generally to
                       decline to provide committees of


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                   Congress with access to or copies
                   of law enforcement files except in
                   the most extraordinary circumstances .. '"
Perry Dec., para. 23 and Exhibit F..          The Attorney General.
explained that
                  "'(olur policy is premised in part on
                  the fact that the Constitution vests in
                  the President and his subordinates the
                  responsibility to 'take care that the
                  laws be faithfully executed .. 1 • • •
                  At bot~om the President has a
                  responsibility vested in him by the
                  Constitution to protect the ·
                  confidentiality of certain documents
                  which he cannot delegate to the
                  Legislative Branch.•
Ibid.
        Upon receiving this instruction, EPA intensively reviewed
sensitive law enforcement documents from its open Superfund law
enforcement files to insure that no documents would be withheld
from the Subcommittee except as instructed by the President.
Those documents which EPA determined. were subject to the Presi-
dent's instruction were also reviewed by the Department of Justice
under the supervision of the Assistant Attorney General of the
Land and Natural Resources Division.           Perry Dec., para. 24.         As   of
December lS, 1982,. EPA and the Department of Justice identified
sixty-four documents, the disclosure of which would impair the
government's ability to enforce the Superfund Act.              These
documents were therefore withheld f ram the Subcommittee.·              Perry
Dec .. paras .. 16-18 and 24; Dinkins Dec., paras. 5-9.          The
Subcommittee was provided with lists which identified each of
those sixty-four documents and briefly explained why each document
was being withheld.       Perry Dec., para.      26 and Exhibit G.


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     On December 2, 1982 Mrs. Gorsuch appeared before the Sub-
committee as instructed by the subpoena.             She advised the
Subcommittee that the documents requested by the subpoena (docu-
ments concerning "'those sites listed as national priorities
pursuan.t. to Section 105(8) (B)   ir   of the Superfund Act> did not
exist, because EPA had not yet listed any sites as national
priorities pursuant to that section.             Perry Dec ... , Exhibit Cat 3.
Nevertheless, she explained that EPA had "in a $pirit of coopera-
tion and comity"' already begun to gather its files on the 160
interim priority sites and would make more than 750,000 pages of
documents available to the Subcommittee.             Ibid.        She brought with
her to the hearing, and tendered to the Subcommittee, the first
five file boxes of such documents, but the Subcommittee declined
to accept delivery of those documents.
                                                  -Id.    at 6.     Indeed, neither
at that time nor at any subsequent time has the Subcommittee asked
to examine any of the documents Mrs. Gorsuch brought to the
hearinq or offered to. produce· thereafter.              Perry Dec. , para. 25 ..
     At the hearing, Mrs. Gorsuch also advised the Subcommittee
that •sensitive documents found in open law enforcement files will
not be made available- to the Subcommittee,"' citing the President's
instructions to her.     Perry •. Dec .. , para •. 26 and Exhibit c at 5.
            D.   The Contempt Resolution and This Lawsuit
     At the conclusion of its December 2 hearing-, the Subcommittee
passed a resolution finding- Mrs. Gorsuch to be in contempt for
failure to comply with its subpoena.             The Subcommittee reported
the matter to the full Committee.            Perry Dec., para. 27 and
Committee Report at    57~




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      A final attempt was made to resolve the impasse between the
Subcommittee and the Executive Branch at a meeting on December 8,
1982, but that attempt was unsuccessful..         The Subcommittee's final
proposal contemplated that its members and staff would have
unrestricted access to sensitive documents from open law enforce-
ment files.     The Executive Branch, although willing to subject all
such documents to an elaborate screening process within the
Executive Branch to insure      th~t   no document would be improperly
withheld,. was unwilling: to permit the requested Subcommittee
examination because it.contemplates
                  that the President will lose control
                  over the contents of material which
                  those who assist him in enforcing the
                  law have determined to be in a narrow
                  category of documents the release
                  of which would adversely affect
                  the Executive Branch's ability
                  to enforce the law.
Perry Dec .. para .. 28 and. Exhibit H; Committee Report at. 22-23.
      On December 10, 1982, the· Committee reported Mrs . . Gorsuch's
alleged failure to comply with: the subpoena to the full House of
Representatives together with a recommendation that she be cited
for' contempt of Congress.-     On December 16, the House of Repre-
sentatives· passed a resolution citing: Mrs. Gorsuch for contempt of
Congress ..   On December 17, the Speaker and Clerk of the House
certified the contempt citation to the United States Attorney for
this District for criminal prosecution pursuant to 2            o.s.c. §§192
and 194..     Late that evening, the certification was delivered to
the United States Attorney by the House Sergeant at Arms.              Perry
Dec., paras.     29-31~   Declaration of Stanley S. Barris <"Harris
Dec."), para. 2 and Exhibit A; Committee Report, 57 and 70.


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     On December 27, 1982, the TJnited States Attorney advised
Speaker O'Neill of his conclusion. that "it would not be appro-
priate for me to consider bringing this matter before a grand jury
until the civil action has been resolved."'         Harris Dec., para. 3
and Exhibit B..   Chairman Levitas subsequently called for the
impeachment of the Attorney General and the TJnited States
Attorney.   129 Cong.    Re~.   H30-31 Cdaily ed., January 3, 1983)
<Attachment B hereto).      On January 5, 1982, Speaker O'Neill wrote
a letter to the TJnited States Attorney, asserting that the
pendency of this civil action did not alter the TJnited States
Attorney's duty to prosecute Mrs. Gorsuch.          Harris   Dec~   para.. 3
and Exhibit C.
     The Executive filed. this action on December 16, 1982, minutes
after the House vote of contempt, seeking both declaratory and
injunctive reli"ef.     On December 29, the Executive filed an amended
complaint, seeking declaratory relief only with respect to defend-
ants' efforts to compel production of. the withheld documents..                On
December 30, defendants filed a motion to dismiss the complaint.;
                           SUMMARY OF ARGUMENT

     This case is unique.        There has rarely been a sharper
confrontation between the Legislature and the Executive, and never
one quite like this.      Accordingly, while we are seeking what may
appear to be extraordinary relief, that is because this is an
extraordinary situation •.
     The House subpoena sought a broad array of documents con-
cerning numerous open enforcement actions.          EPA sought to accom-
modate the Subcommittee's needs by producing files on its 160


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·interim-priority cases ..   These files -- consisting of more than
750,000 pages of documents -- spell out in detail the technical
background, parties, and procedural status of each matter.              The
only papers the Executive balked at turning over were a small
minority of documents that are the most sensitive kind of
prosecutorial work-product..      Any leakage of such documents to the
public or· potential targets of EPA and the Justice Department
could seriously undermine the integrity and effectiveness of law
enforcement efforts.
      The Subcommittee was urged to review th.e files being produced
to see whether the additiO'nal few documents being withheld were
essential for any legitimate oversight function.            In addition, the
Subcommittee was promised that the withheld documents would be
made available once they were no longer enforcement sensitive.
However, without establishinq any need for immediate access to the
withheld documents, the House -- in the midst of the Lame Duck
session. -   rushed to cite Mrs .. Gorsuch for contempt of Congress
and to demand tha.t she be criminally prosecuted.
      Only the Judiciary can resolve the resulting constitutional
controversy, which reached a total impasse when the House of
Representatives took the unprecedented step of citing an Executive
official for contempt of Congress solely for following the
instructions of the President that certain documents not be
disclosed in order to preserve the ability of the Executive Branch
faithfully to execute the law.        By this motion for summary
judgment,*/ the United States and Mrs. Gorsuch seek a

 */ Summary judgment is appropriate pursuant to Rule 56,
 Fed.R.Civ.P. because there is no "genuine issue as to any material
 fact" and the plaintiffs are entitled to judgment as a "matter of
 law. n
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declaration that the Executive Branch's refusal to release certain
highly sensitive materials contained in open law enforcement files
is fully in accordance with the law, so that the "unseemly"
situation of a high-level Executive Branch official being cited
for contempt of Congress and threatened with prosecution can be
resolved.V
     Such relief is available in this unique situation, as will be
demonstrated below.     First, the controversy is ripe for judicial
review, because no further steps remain in the subpoena enforce-
ment process and the other two branches of government are at
complete loggerheads.     The Executive, has asserted a constitutional
privilege to withhold the documents, and Congress is doing all it
can to require the Executive to forego the privilege and to turn
over the documents.     Thus judicial review is necessary to deter-
mine the right of the Executive to assert the privilege and to
vindicate that right if the Executive has properly asserted it ..
Second,. this action may be pursued against the House- and its
members despite the Speech. or Debate Clause of the Constitution,
Art •. I, §6, cl. l,, because the Court is not being asked to inter-
fere· with ongoing- congressional action but merely to review the
validity of efforts. to enforce a complete legislative- act.
Finally, on the merits of the controversy, the refusal of the
Executive Branch to produce the documents was properly based upon
well-recognized separation of powers principles.

*/   ~United    States v. Nixon, 418 U.S. 683, 691-92 (1974).


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                                  ARGUMENT
            I.   This Case Presents a Justiciable Claim
                 For Declaratory Relief
                 A.   This Court Has Subject Matter Jurisdiction
      Subject matter jurisdiction for this suit is properly based
on 28 cr.s.c. §1331,. because all of plaintLffs' claims ar,ise from
the constitution and laws of the United States, and on 28 cr .. s.c.
§1345, because this action was commenced by the Uhited States.
Defendants.' arguments to the contrary are based on irrelevant
cases and a confusion between subject matter jurisdiction and
cause of action.~/
      That this. Court has subject matter jurisdiction over this
case is confirmed by the Court of Appeals' decision in United
States v. A.T.& T., 551. F.2d 384 CD.C. Cir. 1976).           There the
court held that an action brought by the United States to vindi-
cate a claim of Executive privilege asserted against a congres-
sional subpoena presented a claim arising under the Constitution

  */ Defendants make the strange assertion that the Executive did
  not properly sue in the' name of the United States. That assertion
  is wrong because the Attorney General here seeks to vindicate
  constitutional and legal rights of the President and two Executive
  Branch agencies. See 28 cr.S.C. §§515-19:- Senate Select Committee
  v .. Nixon, 336F .. Supp .. 51, 56-57 CD.D.C. lg.73>. The Executive
· historically has participated in ligi tation against the Legisla-
  tive Branch in the name of the United States. See, e.q.,
  Consumers Union v. FTC, No. 82-1737 <D.C. Cir., Oct. 22, 1982);
  Clark v. Valeo, 559 F.2d 642 CD.C. Cir. 1977}r United States v ..
  A .. T. & T.,. 551 F.2d 384 cn.c .. Cir. 1976).



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of the United States and, hence, under §1331.             Id. at
389.*/    using language applicable here the court stated at
389 that:
                Other decisions dealing with interbranch
             conflict have not discussed the problem of
             jurisdiction, but have nevertheless reached the
             Il'lerits. It seems to be assumed that these cases,
             dealinq with the powers and relations of the
             branches of the United States, are maintainable
             in federal court, if justiciable at all. we need
             not resolve this question for we find subject
             matter jurisdiction under 28 u.s.c. §1331.
     Defendants rely upon the first decision in Senate Select
Committee v. Nixon, 366 F. Supp. 51 <D.D.C. 1973>, in which a
Senate Committee's attempt to enforce a congressional subpoena was
dismissed for lack of subject matter jurisdiction.              Defendants'
Brief at 33-34.      As defendants recognize, the court in that case
rejected jurisdiction      ~nder   §1331 for failure to satisfy the
$10,000 amount-in-controversy requirement then applicable.                   366
F. Supp. at 59-EiI.**/       However, §1331 was subsequently

*/ Defendants, attempt to distinguish A.T.& T. on two grounds ..
Defendants' Brief at 43. First, they suggest that A.T.& T.'s
jurisdictional holdinq should be limited to cases in which Execu-
tive privilege is claimed on national security grounds. However,
this is an argument on the merits,. i.e., that there is no Execu-
tive privilege f.or law enforcement materials. Defendants' second
argument is that A .. T.& Tshould be distinguished because the
congressional party in that case intervened as a defendant and was
not originally sued. This purported distinction is irrelevant
since the requirement of subject matter jurisdiction is as applic-
able to intervenors as to original. parties. See 3B Moore's
Federal Practice !24.18.
**/ After enactment of a special jurisdictional statute, the
C'O'urt considered the Committeee's claim and rejected it on the
merits. 370 F. Supp. 521. (D.D.C. 1974), aff'd, 498 p·.2a 725 (D.C.
Cir. 1974) .


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amended to eliminate the amount-in-controversy requirement for
federal question jurisdiction.          ~     28   u .s .c.   §1331,   ~amended

Dec. l, 1980, Pub. L. 96-486, §2Ca), 94 Stat. 2369.                    This
amendment to the jurisdictional statute thus eliminates any
barrier to federal question jurisdiction over the present case.
     Defendants also argue that there is no legislative history
showing a specific congressional intent to confer jurisdiction on
the federal courts to decide inter-branch suits. In particular,
defendants advert to several proposals rejected by the Congress
which would have conferred upon the courts a specific grant of
jurisdiction for the civil enforcement of legislative subpoenas.
Defendants' Brief at 34-35, 39-41..           Yet the failure of Congress to
enact such a statute is hardly surprising in view of the broad
grant of jurisdiction created by.§1331, as amended in Pub. L.
96-48~,   §2 Ca),. 94 Stat. 2369, Dec. 1, 1980.               Co·ngress could not
have b.een expected to enumerate every cause of action covered by
such a general jurisdictional statute and did not attempt to d·o




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so.   Indeed, this same argument was rejected by the Supreme Court
in Powell v.       McCormack, 395 U.S. 486 (1969).          In that case, the
defendants alleged that the Court lacked subject matter
jurisdiction under 28        o.s.c.   §1331 because the legislative history
underlying that provision did not expressly state that it applied
to suits questioning the exclusion of Congressmen from the Rouse
of Representatives.         The Court first noted that ltit has generally
been recognized that the intent of the drafter was to provide a
broad jurisdictional grant to the federal courts.n                    Id. at 515.
       T                                                          -



rt then found that because the resolution of that case "depend[edJ
directly on construction of the Constitution (and thel Court has
consistently held such suits are authorized by (§1331J,"· id. at
516, the Court had subject matter jurisdiction over the lawsuit.
Similarly, resolu17ion of this dispute           ~depends   directly on
construction. of the Cons ti tu ti on ... and accordingly, subject matter
jurisdiction lies under §1331.*/
      In addition to federal question jurisdiction, §1345 also .
provides a basis for subject matter jurisdiction of the present

*/ Defendants alsq argue that no cause of action should be
Tmplied from §1331.. Defendants' Brief at 36-41.. This perplexing
argument confuses. the iss.ue of subject matter jurisdiction with
the existence of a cause of action. Plaintiffs have never
asserted that their cause of action is implied under §1331. See
Powell v. McCormack, 395 U.S. 486, 512-516 (1969) •.




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case-.!/   That section provides as follows:-
                 Except as otherwise provided by Act
                 of Congress, the district courts
                 shall have original jurisdiction of
                 all civil actions, suits or
                 proceedings commenced by the Onited
                 States,, or by any agency or officer
                 thereof eeeressly authorized to sue
                 by act of Congress.. (Emphasis added.>
Defendants argue that this jurisdictional basis is unavailable
because the final. clause -- "expressly authorized to sue by act of
Congress" -- is not satisfied.        However, defendants misconstrue
this section because that clause modifies the phrase "any agency
or officer thereofs and not the phrase "the United States."
                                                                            -See
generally Reviser's· Notes, 28 U.S .c .. §1345; Government National
Mortgage Association v. Terry, 608 F.2d 614 CSth Cir. 1979>.                 ~

also United States v. Mattson, 600 F.2d 1295, 1299 (9th Cir.
1979); Onited St"ates v. Solomon, 563 F.2d 1121, lJ.26 (4th Cir.
1977); Note, 85 Harv. L. Rev. 1566 (1972).
     Defendants. rely principally on United States v. Mattson,
supra., and United States v. Solomon,. supra, for the proposition
that §1345 provides no additiona_l capacity to the United States to
sue "unless another statute expressly authorizes it."'            Defendants'
Brief at 43 ..   Yet both those cases recognized that where no
statute expressly authorizes suit, "the government can sue if it
has. some interest that can be construed to warrant an implicit
grant of authority .. "'   United States v .. Mattson, 600 F.2d at 1298.

*/ In United States v .. A.T.&T., the court found it unnecessary to
decide whether §1345 furnished a basis for jurisdiction, since it
found jurisdiction under §1331. 551 F.2d at 388-89.


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~.United      States v. Solomon, 563 F.2d at 1126.           The courts in
both cases rejected a claim of a nonstatutory grant of authority
to sue on behalf of mentally retarded patients in state hospitals
because the government could not allege an injury in fact suffi-
~ient    to grant standing to bring suit or to imply a nonstatutory
cause of action on behalf of the United States.              It is not argued
here that §1345 grants the United States a cause of action.
Rather, as demonstrated below, the United States and Mrs. Gorsuch
can demonstrate sufficient harm to judicially cognizable interests
to demonstrate standing to maintain this lawsuit.
                         B.   Plaintiffs Have Standing
     Plaintiffs have standing to sue because they have sustained
injury-in-fact that is directly traceable to the conduct of
defendants and which only the courts can adequately remedy.
Although defendants prefer that this controversy be resolved by
subjecting Mrs. Gorsuch to a criminal prosecution, requiring such
a draconian solution .-·would be unseemly, and would. present ·an
unnecessary occasion for constitutional confrontation between two
branches of the government.It        United States v. Nixon, 418 U.S.
638, 691-92 (1974}.

        Mrs·. Gorsuch has been cited for contempt by the House, which
has submitted the matter to the Executive for prosecution.
Indeed, even if she is never prosecuted by the Executive, the
House's contempt citation, in and of itself, more than amply




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establishes the immediacy of this controversy.             The House vote
represents a formal determination by a co-equal branch of our
government that the head of an Executive agency has failed to
comply with the law..       That citation thus stands as an accusation
by the House of Representatives that an Executive officer has

                           .
committed a criminal act in discharging her official duties as
Adminstrator of the EPA.~          The effectiven~ss of any high-
level executive official is, at least in part, dependent upon the
establishment of relations with.the Legislative Branch free of the
sort of coercion reflected by a contempt of Congress citation.
These injuries are all concrete, direct and immediate and can only
be redressed through judicial resolution.
        In addition to the in.jury to Mrs. Gorsuch in her capacity as
Administrator of EPA, the plaintiff United States has also
suffered a legally cognizable injury.           Here, the injury to the
Executive Branch and. its agencies is an unprecedented interference
with its responsibility for faithful execution of the laws and
derogation of its independenca from a co-equal branch of govern-
ment.     The protection of these sensitive law enforcement files is
necessary because "[hJuman experience teaches that those who
expect public dissemination of their remarks may well temper

*/  Indeed, under well-established common law principles, the
imputation of criminal behavior to an individual is generally
considered defamatory per se and actionable without proof of
special damages. 53 C.J.S. Libel and Slander §14. The Court of
Appeals for this Circuit has held that damage to one's "good name
and reputation" constitutes injury in fact for Article III
purposes. Southern Mut. Help Ass'n v. Califano, 574 F.2d 518, 524
(D.C. Cir. 1977). Here, Mrs. Gorsuch's reputation for fidelity
to the rule of law has been seriously impugned by the contempt
citation of the House.


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candor with a concern for appearances and for their own interests
to the detriment of the decisionmaking process.It                United States v.
Nixon, 418 U.S. 683, 705 <1974).              As the Supreme Court found in an
analogous       contex~,   the purpose of the privilege ltis to prevent
injury to the qual.ity of agency decisions."'              NLRB v. Sears,

Roebuck & Co., 421         rr.s.   132, 151   (1~75).

       NLRB v. Sears Roebuck & Co. involved Exemption 5 of the
Freedom of Information Act, 5           u.s.c.   §552, as applied to protect
the deliberative process and wqrk-product of the government from
disclosure.        The Court found that the exemption is necessary to
preserve the efficacy of. the decisionmaking process and to
encourage the free exchange of ideas within the agency without the
threat of public scrutiny.             Id. at 150.      ~Coastal    State Gas
Corp •. v • .QQ!, 617 F.2d 854, 866-69 CD.C .. Cir. 1980}; Bristol-Myers
£2_ .. v.   !!£r 59g: F.2d 18, 23-24 <D.C. Cir .. 1978).         In Coastal
States Gas Corp. v • .QQ!., the Court recognized another reason for
the exemption!'
                      to· protect the adversary trial
                      process itself. It is believed that
                      the integrity· of our system would
                      suffer if adversaries were entitled
                      to probe each other's thoughts and
                      plans concerning the case. Cer-
                      tainly less work-product would be
                      committed to paper which might harm
                      the quality of trial. preparation.
                      [ 617 F. 2d at 8 6 4. ]

       Without judicial intervention here, the threat to the
integrity of the enforcement efforts and decisionmaking process of
EPA   and the Department of Justice under the Superfund law becomes
very real.
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     The threat of premature disclosure if the Executive loses
control over sensitive law enforcement documents can well be
expected to inhibit actions of all participants in the law
enforcement process.       It is likelyr for example, that outside
sources, of information will not cooperate as freely due to the
fear of possible, premature. disclosure; that parties responsible
for the hazardous waste sites will avoid settlement negotiations
and await possible disclosure of the government's settlement
strategies, and that staff attorneys may shrink from conducting a
cand~d    and thorough evaluation of an enforcement action where
those evaluations may be disclosed before the case has been
completed..    Accordingly, the threat that the Executive will lose
control over enforcement file materials creates a present uncer-
tainty as to the overall independence and integrity of the law
enforcement process.       ~    Perry Dec., paras., 32, and 3 3.      Such
uncertainty and the consequent, harm to the enforcement process
constitutes an. injury-in-fact to the Executive's ability to
execute the law, and, hence, to the welfare of the general public.
         Defendants argue that the United St:ates does not have
standing, absent a statute, unless the case involves either a
contractual. or proprietary interest of the government, or harm to
the national security or public welfare.            Defendants' Brief at
46-49.     Even if this were the correct standard, the harm to the
pu.blic welfare threatened oy enforcement of defendants• subpoena
is sufficient to confer standing upon the United States as


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plaintiff, in accordance with such cases as In re Debs, 158 U.S.
564 <1895), and New York Times v. United States, 403 U.S. 713

(1971).      There could be no greater harm to the public welfare than
disruption of law enforcement activity by the Executive
Branch.*/      The United States -- unlike other plaintiffs
has authority to sue on behalf of the public welfare under Debs
and its progeny.        For this reason,· the United States can bring
suit to vindicate rights shared by the people in common or
"generalized grievances,"' for which private individuals or
organizations would not have standing.             £!.   Valley Forge Christian
College v. Americans United for Separation of Church and State,
454. U.S .. 464 Cl982>.**/




*/ Of course, this argument in favor of standing presumes that
plaintiffs have a good case on the merits.. Such a situation is
not uncommon, however, where the existence of a legally cognizable
injury is effec.tively the same as: the ultimate legal issue in the
case. ~Association of Data Processing Service Organizations v ..
Camp, 397 U.S. 150 (1970).

**/ For this reason, United States v. Solomon, 563 F.2d 1121
14th Cir .. 1977), cited by defendants, is inapposite. In Solomon,
the court found that no nonstatutory grant of authority existed to
sue on.behalf of mental.ly retarded patients in state hospitals
because, among other reasons,. it could not be shown that "the
immediate victims constitute 'the public. at large.'" 563 F.2d at
1129 ..



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     The foregoing demonstration of injury-in-fact is easily
traceable to the acts of defendants.        It is the defendants who
caused the subpoena to be served upon Mrs. Gorsuch, cited her for
contempt of Congress, and certified the matter to the Onited
States Attorney for crimina·l prosecution..       Indeed, Defendants.'
brief to this. Court repeatedly urges the criminal prosecution of
Mrs. Gorsuch pursuant to 2     o.s.c.   §194.   Defendants' Brief at 9,
25, 26-27, 30-32, 46, 56.      Chairman Levitas has threatened the
Onited States Attorney and Attorney General with impeachment if
they do not initiate criminal proceedings against Mrs .. Gorsuch.
See p. 3, supra..   Onder these circumstances, it is disingenuous
for defendants to argue that the                    '
                ~complaint doesn't offer a clue
                about how the present legislative
                defendants a.re responsible for
                [plaintiff'sJ injury, for it is
                not the legislative defendants who
                are responsible for proceeding
                under 2 cr.s.c. §192.~
Defendants' Brief at 50.
     Defendants' final standing argument concerns the utility of
declaratory relief to redress: the injuries suffered by plaintiffs ..
This argument is best considered together with the appropriateness
of declaratory relief under the circumstances, which follows·.




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                C.   Declaratory Relief Is Both Necessary and Proper
     tJnder the Declaratory Judgment Act, a federal district court
in any actual controversy within its jurisdiction may declare the
rights and other legal relations of any interested parties seeking
such a declaration whether or not any further relief is or could
be sought. 28 u.s.c . . §2201 •.-*/ There are three criteria for
the issuance of a declaratory judgment.               First, there must be a
"substantial controversy."            Second, the controversy must be
between parties having "adverse legal interests."                 Third, the
controversy must be of 11-suff icient immediacy and reality to
warrant the issuance of a declaratory judgment."                 Maryland
Casualty Co. v. Pacific Coal           &   Oil Co·., 312 IJ.S. 270, 273     Cl941)~

~also          Super Tire Enqineerinq Co. v. Mccorkle, 416 U.S .. 115, 122
(1974)   ~Lake Carriers' Ass'n v •. MacMullan, 406 U.S. 498, 506
                          .               .
Cl972>'"' In most cases, it would be premature to enter a

declaratory judgment on the legality of a. witness' refusal to
comply with a subpoena except as· a defense to a contempt
proceeding..         Ott the unique facts of this case, however,
declaratory relief is appropriate ... ·
     First, there is a substantial. controversy between the parties
present here.          The Bouse subcommittee and committee in their
written documents and in their vote to recommend a contempt
citation have made· clear their total disagreement with the

*/ The Declaratory Judgment Act does not grant any additional
jurisdiction to the federal courts, but rather allows them to
declare the rights and obligations of parties where an actual case
cause or controversy already exists. Golden v. Zwickler, 394 U.S.
103 (1969).



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rationale of the Executive Branch in refusing to turn over sensi-
tive law enforcement materials.         The full House of Representatives
has ratified their position.         The defendants take the position,
and have so stated repeatedly, that a congressional committee is
absolutely entitled to all documents contained in the open law
en~orcement    files of the EPA, an executive branch agency..           On the
other hand, the Executive Branch has taken the position that the
Constitution requires it to maintain control over documents where
their release would impair the President's ability faithfully to
execute the law.      There is, then, without doubt a controversy both
concrete and live between the parties.
        Second, the parties have adverse legal interests..          The House
of Representatives has already voted that Mrs. Gorsuch be cited
for contempt solely for following the instructions of the Presi-
dent.     Moreover, this matter has now been referred to the United
States Attorney for·prosecution, and the Chairman of the House
Subcommittee has threatened the United States Attorney and the
Attorney General with impeachment proceedings unless Mrs. Gorsuch
is prosecuted.      In light of the extraordinary seriousness of this
unprecedented situation, the parties have sharply adverse legal
interests •.
        Third, this unique controversy has sufficient immediacy and
reality to warrant a declaratory judgment here.             The House has
voted contempt and has referred that citation to the United States
Attorney.      The legislative process is complete, thus rendering
this controversy both immediate and ripe.




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      The current case involves a contempt citation against the
 head of an Executive agency whose acts are the acts of the Presi-
 dent in many matters.     Indeed, the President instructed the
 Administrator to take the action at issue here.           Onder such
 circumstances, it is unnecessary to require the agency head to be
 cited for contempt -- much less subjected to criminal prosecution
 -- before resolving the legal issues.        This principle was
 emphasized in Onited States v. Nixon, which authorized judicial
 review without requiring contempt as a condition precedent.                In
· that case, the threshold question was whether the Supreme Court
 had jurisdiction over the appeal in view of the fact that the
 normal procedure for reviewing a refusal to comply with subpoenas,
 a defense to a contempt prosecution, was not before it.            The Court
 found, in view of the unique situation presented in that case,
 that traditional. methods of review were not applicable:
                Here too, the traditional contempt
           avenue to immediate appeal is peculiarly
           inappropriate due to the unique setting in
           which the question arises. To require a
           President of the United States to place
           h.imself in. the posture of disobeying an
           order of a. court merely to trigger the
           procedural mechanism for review of the
           ruling would be unseemly, and would present
           an unnecessary occasion for constitutional
           confrontation between two branches of the
           Government. Similarly, a federal judge
           should not be placed in the posture of
           issu~ng a citation to a President simply in
           order to invoke review. The issue whether a
           President can be cited for contempt could
           itself engender protracted litigation, and
           would further delay both review on the
           merits of his claim of privilege and the
           ultimate termination of the underlying
           criminal action for which his evidence is
           sought. [418 U.S. at 691-692.J




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       The same legal concept is applicable here.           As in the Nixon
case, the "traditional contempt avenue to immediate appeal is
peculiarly inappropriate due to the unique setting in which the
question arises."      It is particularly "unseemly" that a high
Executive offical has been cited for contempt of Congress for
following the instruction of the President.             The purely legal
issues giving rise to this controversy should be resolved now in a
civil lawsuit, as in Nixon, in order to resolve and thereby render
"unnecessary" further protraction of this "constitutional
confrontation."
       The propriety of declaratory relief in this case is further
supported by the rationale of Steffel v. Thompson, 415             cr.s.    452

<1974).    There.the plaintiff had been warned twice to stop hand-
billing and demonstrating on the sidewalk of a shopping center.
He then brought an action for injunctive and declaratory relief in
the district cou;-t claiming that the application of the law to him
would violate his First. and Fourth Amendment rights..            In ruling
that there was a suf.ficient case or controversy for purposes of
the Declaratory Judgment Act, the Court stated:
            In these circumstances, it is. not
            necessary that petitioner first expose
            himself to actual arrest or prosecution
            to be entitled to challenge a statute
            that he claims, deters the exercise of his
            constitutional rights. See, e.g.,
            Epperson v. Arkansas, 393 U.S. 97 (1968).
            [ 415 U. S • at 45 9 l .
Again, in Lake Carriers' Ass'n          v~   MacMullan, 406 U.S. 498 (1972),
the Court stated that when "compliance is coerced by the threat of
enforcement, • • • the controversy is both immediate and real."
406   cr.s. at sos.


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     Defendants appear to concede that declaratory relief would be
available under the theory of Steffel v. Thompson if no prosecu-
tion was pending and there was a genuine threat of enforcement of
a criminal statute..   However, defendants argue that:
          the certification by the Speaker renders
          the prosecution 'pending' for purposes of
          Steffel, for 2 u.s.c. §l.94 imposes the
          non-discretionary.duty upon the United
          States Attorney to at least present the
          matter to the grand jury •.
Defendants' Brie£, at 26-27.~/       This argument makes the
dubious assumption that §194 must be interpreted in a literal
manner to deprive the United States Attorney of any prosecutorial
discretion in si tuation.s where a. House of Congress has certified a
finding of contempt.     Such an interpretation would itself raise
serious constitutional. questions.
     It is by now: well-settled that "the Executive Branch has
exclusive authority and absolute discretion to decide whether to
prosecute a case.i..   United States v. Nixon,. 418 U.S. 683, 693
Cl973}, citing: Confiscation Cases, 1 Wall- 454 <1869); United
States v. Cox·,. 342 P.2d 167, 171 CSth Cir.>, cert •. denied, sub        .!!,2!!!
                                      **/
~ v. Hauberg, 381 U.S. 935 Cl965) ..-      Indeed, the Court

~/  Defendants also rely upon dicta in United States v. A.T.&T.,
551 F.2d at 393,. n.16 CD.C. Cir. 1976) to the effect that
"[cJriminal proceedings are begun" by a contempt resolution.
Taken in context, this statement has nothing to do with the deter-
mination required by Steffel.
**/ This fundamental power derives from Article II, Section 3, of
the Oni ted States Constitution which. vests the Executive Branch
with the authority to see that "the laws be faithfully executed."
By virtue of this provision, the law enforcement prerogative
resides "squarely in the executive arm of the government." Pugach
v. Klein, 193 F. Supp. 630, 634 (S.D. N.Y. 1961). As the Presi-
dent's surrogate in discharging this executive function, Ponzi v.
Fessender, 258 U.S. 254 (1921), the Attorney General is the chief
law enforcement officer and possesses the "exclusive prerogative"
 (continued)

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of Appeals for this Circuit has specifically recognized that the
Executive Branch retains its traditional prosecutorial discretion
under §194.   As the court stated in Ansara v. Eastland, 442 F.2d
751, 754 & n.6 (D.C. Cir. 1971)
          We are aware. that • •   the Executive
          Branch .. • • may decide not to present
          the [contempt citation] to the grand
          jury <as occurred in the case of the
          off ic1als of the New York Port
          Authority> • •
Contrary to.defendants' assertions, therefore, §194 does not
require the United States Attorney to initiate a prosecution.              For
this reason, defendants cannot argue that the theory of Steffel v.
Thompson is inapplicable to the present case.
     Plaintiffs recognize that declaratory relief is not ordinar-
ily available to permit a witness to challenge the validity of a
congressional subpoena..     As defendants point out, the "orderly and
often approved   means·~   of raising constitutional defenses to a
subpoena normally requires presenting one's defense through the
following- process:    review by the subcommittee, ful·l committee,
and full House· of Congress, followed by referral to the United
States Attorney and indictment or information..          "Should prosecu-
tion occur, the witness' claims could then be raised before the
trial court."'   Sanders v. McClellan, 463 F.2d 894, 899          m.c. Cir.
1972), cited in Defendants' Brief at 23.          However, none of the

**/ (continued from previous page)
tO begin a criminal prosecution.. United States v. ~, supra, 342
F.2d at 190-91 <Wisdom, J. concurring). Because this power is
constitutional in source, the Courts have consistently invoked the
separation of powers doctrine to decline review of particular
prosecutorial decisions. Newman v. United States, 382 F.2d 479,
481 CD.C. Cir. 1967); Smith v. United States, 375 F.2d 243, 247
(5th Cir. 1967}; Inmates of Attica v. Rockefeller, 477 F.2d 375,
379 C2nd Cir. 1973).

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cases cited by defendants involved the peculiar facts present
here, namely a completed legislative process which resulted in a
                                                .       */
contempt action against a top Executive Branch official.-
     There is another reason why declaratory relief is not only
proper but necessary in the present case.         The "regular procedure"
for testing a witness' claims referred to in Sanders, 463 F.2d at
900, is not available.     The witness in this case, Mrs. Gorsuch,
was cited for contempt for withholding documents at the direction
of the President and upon the! advice of the Attorney General.
Under these circumstances, it is questionable whether the Depart-
ment of Justice could properly prosecute Mrs. Gorsuch for con-
      **/
tempt.-    Because the 3 regular procedure" for resolving this
dispute is not available, declaratory relief is necesssary for its
resolution.

*/ Sanders and the cases cited in that opinion were all cases
where "in)Unctive or declaratory relief. has been sought With
respect to an ongoing. congressional investigation.. • • • 11 Id. at
901 (emphasis added) .. Here congres.sional. action is complete.
**/ The inability to prosecute Mrs. Gorsuch for contempt has
several dimensions., As: we have shown, pp. 34-35, supra, 2 U.S.C.
§194 cannot impose a mandatory obligation to prosecute
Mrs·. Gorsuch. Since the Attorney General counseled the President
to instruct Mrs. Gorsuch to withhold the documents in question, it
would also raise serious ethical. questions for the Department of
Justice to undertake a discretionary prosecution. See Principles
of Federal Prosecution, U.S .. Dept. of Justice.r Partl3fl) {July
1980) .. And, because Article II makes criminal prosecution an
exclusive responsibility of the Executive Branch in most situa-
tions, it is doubtful that Mrs. Gorsuch could be prosecuted by
anyone who is not subject to the direction of the President.
Finally, the criminal prosecution of an Executive official for
complying in good faith with the President's instructions to
withhold documents could well be unconstitutional in any event,
since it imposes a heavy burden on the assertion of executive
privilege. In this regard, it is significant that civil litiga-
tion remains available as an alternative means of resolving such
inter-branch disputes. See Senate Select Committee v. Nixon, 498
F.2d 725 (D.C. Cir. 1974~
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      The extraordinary and compelling circumstances of this case
strongly militate in favor of departing from the usual rule that
the validity of a congressional subpoena can be tested only in
defense of a criminal prosecution.             Accordingly, an immediate and
concrete controversy exists; a declaratory judgment is not only a
proper method of review but indeed the best method to.determine
the legality of the Administrator's action.
                 D. The Political Question Doctrine
                    Does Not Require Abstention
      This case in.volves a dispute between the Executive and Legis-
.lative Branches over fundamental constitutional principles.                The
only way it can be resolved is through the intervention of the
Judiciary.      Under these circumstances, the political question
doctrine does not require the Court to abstain from adjudicating·
the issues raised by this action.*/
      As noted above, a similar confrontation between the two
branches was presented in United States v. A.T.&T., 567 F .. 2d 121
CD •. C. Cir ... 1977).    There, the court considered political question
principles at length in determining whether it was appropriate to
intervene in the dispute between the two branches over a congres-
sional subpoena...        After: noting that the courts had often resolved

*l Defendants disclaim any argument based upon the political
question doctrine. Defendants' Brief at 45. Nevertheless, this
argument is addressed here in the event the Court raises the
question ~- sponte •.


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disputes concerning the allocation of power between the branches,
567 F.2d at 126, n.13, .the court stated at 126:
                 Where the dispute consists of a clash
                 of authority between two branches,
                 however,. judicial abstention does not
                 lead to orderly resolution of the
                 dispute. No one branch is identified
                 as having final authority in the area
                 of concern.
If, the court went on to say, a stalemate resul.ts, judicial inter-
vention is required to avoid the "detrimental effect on the smooth
functioning of government.w      567 F.2d at 126 ..
     Abstention was. rejected by the court in A.T.&T.          because the
court found those factors to be present.         The identical factors
are present here..
                                                                     .
                       As in A.. T.&T., the Legislative Branch claims a
power to investigate the manner in which an agency has admini-
stered a particular program..     As part of that power, it contends
that it has an unlimited right to any documents involved in that
program.    The Executive, on the other hand, as in A.T.&T., con-
cedes that the Legislative Branch has: the power to investigate,
but contends that the right to investigate is not without bounds
and cannot reach documents which, if disclosed, would impair its
duty to faithfully execute the laws.        Moreover, a stalemate has
resulted over this dispute, since no further legislative action is
possible.    A.T.&T.    stands for the clear proposition that when
such a constitutional confrontation between the two branches has
reached an impasse, the courts have a duty to intervene in order
to provide for an orderly resolution of the dispute.


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     The Court of Appeals for this Circuit has reached essentially
the same conclusion in two other cases involving a claim of execu-
tive privilege, Nixon v .. S1rica,. 487 F.2d.700 CD .. C. Cir. 1973> and
Senate· Select Committee v. Nixon, 498 F.2d 725 CD.C •. Cir. 1974> ..
In Sirica, a claim of privilege was interposed in response to a
grand jury subpoena while in Senate Select Committee, the claim
was interposed in response to a congressional subpoena.             In both
cases the argument was made that judicial intervention was
inappropriate because non-justiciable political questions were
involved.   That contention was rejected in each case, and in each
case the court reviewed the merits of the privilege claim.                 Nixon
v .. Sirica, 487 F.2d at 716-7187 Senate Select Committee v. Nixon,
498 F.2d at 728 ..   The political.question doctrine, therefore, does
not preclude this Court from entertaining this action.




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            II.   The Speech Or Debate Clause
                  Does Not Bar This Action.
     The Speech or Debate Clause does not bar this suit.             The
co.ngressional action in qllestion is complete,. and the Court is in
no way requested to interfere with any ongoing congressional
activity.    Moreover, in a decision fully applicable here, the
Court of Appeals for this Circuit has held that a suit such as
this is not barred by the Speech or Debate Clause.            In United·
States v. A.T.&T., 567 F.2d 121 (D.C. Cir. 1977), the court'
permitted the Executive Branch to obtain judicial review of a
congressional subpoena which sought sensitive national security
information that was subject to a claim of executive privilege.
The court noted that the intent of the Clause is primarily to
protect members of Congress from "personal suit[sl against them."'
567 F .. 2d at 130.   Where that is not the case,. "the Clause does not
and was not· intended to immunize Congressional investigatory
actions from judical review."'      567 F .. 2d at 129.




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                  A.   The Purpose of the Speech
                       Or Debate Clause
     The Speech or Debate Clause of the Constitution, Article I,
Section 6, clause 1, provides:
                  For any Speech or Debate in either
                  House, they [the' Senators and
                  Representativesl shall not be
                  questioned in any other place.
The fundamental purpose of the Clause is to         "prote~t   the integrity
of the legislative process by insuring the independence of in-
dividual legislators."'      United States v .. Brewster, 408 U.s 501,
507 Cl972}.     In this regard, the clause has been expanded beyond a
literal construction to include anything "generally done in a
session of the House by one of its. members relating to the busi-
ness before it."'      Kilbourn v. Thompson, 103 U.s. 168, 204 (1881) ..
However, the Clause cannot be interpreted to cover conduct that is
"in no way related to the due functioning of the legislative
process."'    United States v., Johnson,. 383 U.S. 169, 1972 Cl966).
Thus, the Court has held that legislative acts covered by the
Clause in addition to speech or debate are only those which con-
sti tute an "'integral part of the deliberative and communicative
process"- of the Congress.      Gravel v .. United States, 408 U.S .. 606,
625 {1972).




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      The Clause has been applied to bar two different types of
suits against members of Congress.               The first includes civil or
criminal suits which seek to hold individual legislators liable
for their legislative activities.             Indeed, the prevention of such
suits is the primai:y intent of the Clause.              See Onited States v.
A.T.&T.,. 567 F.2d at 130.          This bar against criminal prosecution
or civil damage actions against individual legislators preserves
their independence when engaged in legislative activities.
      The Clause has also been applied to prevent a second type of
suit -- one which would directly interfere with the legislative
process.       Thus, for example, the Clause prevents a court from
enjoining the implementation of a congressional committee's sub-
poena...     Such a suit is barred because the relief would "impede
congressional action"· and ll'interfere with an ongoing activity by
Congress."       Eastland v. United States Servicemen's Fund, 421              o.s.
491, 509-SlOr n.l& (1975).
      It should: be emphasized, however, that the Clause bars only
those suits. which would have the. effect of interfering with the
legislative· process in some· way.          Thus, for example, in Gravel v.
Onited States, 408 U.S .. 606 <1972>, the Court held that the
private publication by a Senator of materials received by a Senate
Committee was not entitled to Speech or Debate protection because
such an activity is not essential. to the legislative process:




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                 As the Court of Appeals put it, the
                 courts have extended the privilege to
                 matters beyond pure speech or debate in
                 either House, but "only when necessary to
                 prevent indirect impairment of such
                 deliberations." United States v • .Q2!.,
                 455 F .2d at 760 •.
                      Here, private publication by Senator
                 Gravel through the cooperation of Beacon
                 Press was in no way essential to the
                 deliberations of the Senate; nor does
                 questioning as to private publication
                 threaten the integrity or independence of
                 the Senate by impermissibly exposing its
                 deliberations to executive influence.
                 [408 U.S. at 625].
See   also~    v. McMillan, 412 U.S. 306 Cl973>.
      Finally, the Speech or Debate Clause does not bar the deter-
mination by a court of the legality of the action of a person
opposing a subpoena if the legislative process has essentially
terminated.    Thus, in Watkins v. United States, 354 U.S. 178, 208
Cl957) and Barenblatt v. United States, 360 U.S. 109 <1959>, the
court was required to fulfill its        jud~cial    function of determining
the legality of declining to comply with a subpoena when the
defendants were found in contempt under 2           u.s.c.   §192 and prose-
cuted under 2 U.S.C. §194.       Similarly in Senate Select Committee
On Presidential Campaign Activities v. Nixon, 498 F.2d 725 CD.C.
Cir. 1974), the Speech or Debate Clause was no bar to judicial
resolution of an executive claim of privilege when the Committee
brought suit to enforce the subpoena., even though that decision
effectively prevented the committee from procuring information it
requested.    Moreover, if Congress orders the Sergeant-at-Arms to
imprison a witness for failing to comply with a subpoena, a court


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clearly has the power under 28         u.s.c.    2241 et seg., to issue a
writ of habeas corpus against the Sergeant-at-Arms and those
imprisoning the witness, and to determine the validity of the
recalcitrant witness' actions...        ~,      Kilbourn v. Thompson, supra.
     The overriding purpose of the Speech or Debate Clause is,
therefore, not to immunize congressional actions from judicial
review.     rt· is    not to be. extended "beyond         • its intended scope
and its history, to include all things in any way related to the
legislative process."· United States v. Brewster, 408 U.S. 501, 516
Cl972>.     To construe the Speech or Debate Clause as barring this
suit would be inconsistent with this admonition because the relief
sought here would in no way interfere with any ongoing legislative
activity.
             B~      Since the Relief Sought Here Would
                     Not Interfere With The Legislative
                     Process, The Clause Is Not Applicable
     This action will not interfere with the legislative process
because that process has terminated.             The full House has consid-
ered· this matter and: resolved to c-ite Mrs. Gorsuch for contempt.
The contempt citation has been certified and delivered to the
United States Attorney..        It is, therefore, critically important to
emphasize that a dec-laratory judgment in this action would no more
interfere with any legislative processes than would judicial
review of the same issues in the context of a criminal contempt
proceeding.       In each, the court would review the lawfulness of
Mrs. Gorsuch's actions which gave rise to the contempt citation.
Since it is well-established that Speech or Debate principles do
not bar such review in the context of a criminal contempt proceed-
ing, see Watkins v. United States, 354 U.S. 178             (1957)~   Barenblatt


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v. United States, 360 U.S. 109 (1959), there is no reason why, in
the compelling and unique circumstances present here, such
principles should bar review in this case.
     In arguing that the Speech or Debate Clause bars this. action,
defendants. focus largely on the impropriety of the issuance of any
injunctive or •coercive• relief against members of the Bouse.
While it is true that the original complaint in this action
contained a prayer for injunctive relief, the amended complaint
seeks declaratory relief only.-
                                      *I   Much of the defendants'
arguments are therefore no longer applicable.             For example,
defendants argue that Eastland v. United States Servicemen's Fund,
421 U.S. 491 (1975), bars this suit because the Supreme Court
there rejected the proposition that a court could "enter a 'coer-
cive order' which in context would mean that the Subcommittee
would be prevented from pursuing its inquiry by use of a subpoena
to the    bank.~   421 U.S. at 512.        Defendants' brief at 16-17.       But
in Eastland, injunctive and declaratory relief were sought immedi-
ately after the issuance· of the Subcommittee subpoena.               rn that
context,. injunctive; or declaratory relief would have effectively
interfered wi.th the ongoing· investigation.           Here, on the other
hand, a declaratory judgment will produce none of the coercive
effects that would have resulted had either an injunction or a
declaratory judgment been entered. in Eastland.

*/ At the time the original complaint was filed, the contempt
resolution had not been. certified or delivered to the tJnited
States Attorney.

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       Indeed, as noted above, the situation here is similar to that
in United States v. A.T.&T., 567 F.2d 121 CD.C. Cir. 1977).
There, the United States filed suit and invoked executive privi-
lege to prevent A.T.,     &   T. from complying with a congressional
subpoena which sought highly sensitive, national security informa-
tion in A .. T. & T.'s possession.      The House Subcommittee seeking
that information intervened.         It contended that Speech or Debate
principles barred the suit because a judicial resolution of the
dispute would interfere with its investigatory activities.
       The Court of Appeals for this circuit flatly rejected this
contention.     After reviewing Watkins, Barenblatt and Senate Select
Committee v. Nixon, the court stated:
                 • • • individual members of Congress are
            not impermissibly 'questioned in any other
            place' regarding their investigatory activities
            merely because the validity and permissibility
            of their activities are adjudicated. . • . As
            is clear from Watkins, Barenblatt and Senate
            Select Committee, however, the [Speech or
            Debate} Clause does not and was not intended to
            immunize congressional investigatory actions
            from judicial review.. Congress' investigatory
            power is not, itself, absolute'. • • • [567 F.2d
            at 12~1.
The· court, therefore, concluded that judicial intervention was not
precluded by Speech or Debate principles because those principles
are primarily intended to protect individual legislators from
personal suits against them for legislative activities.               Where
that is not the case, "the Clause cannot be invoked to immunize
the congressional subpoena from judicial scrutiny."              567 F.2d at
130.



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              c.   The Clause May Not Be Asserted To
                   Immunize Non-Legislative Activities.
        It is well-established that judicial review of a congres-
sional action is available if employees of the Congress take steps
to implement that action beyond the purely legislative sphere..               As
noted by the defendants in their brief at p. 15, the defendant
Clerk of the House certified the contempt resolution to the United
States Attorney for prosecution under 2          u.s.c. § 194. Moreover,
the defendant Sergeant-at-Arms of the          House~/ delivered the
          •
contempt citation to the United States Attorney.              Each of these
defendants, therefore, was responsible for carrying out the House
resolution that the contempt citation against Mrs. Gorsuch be
certified and delivered to the United States Attorney for prosecu-
tion.     In these circumstances, the Supreme Court has held that
suits can be maintained against the congressional employees in
order to review the legality of the underlying legislative order
pursuant to which they were acting.
        Thia principle was recognized by the Court in Powell v.
McCormack,. 395 U.S. 486 Cl969).         There the House of Representa.-
tives passed a resolution excluding Rep. Powell from the House.
Pursuant to that resolution, the Clerk of the :a:ouse threatened to
refuse to perform the duties due a Representative, the Sergeant-
at-Arms refused to. pay his salary and the Doorkeeper refused to
admit him to the House Chamber.          Powell filed suit against certain
Congressmen as well as these employees challenging the legality of
the House's exclusion order.         The defendants moved to dismiss,

*/   The Sergeant-at-Arms was mistakenly omitted from the Amended
complaint. We have, therefore, moved to amend the Complaint to
join him as a party defendant to this action.
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arguing that the Speech or Debate Clause protected both the legis-
lators and their employees from suit.          The Supreme Court refused
to dismiss the employees and reaffirmed the doctrine that:
            • .. • although an action against a Congressman
            may be barred by the Speech and Debate Clause,
            legislative employees who participated in the
            unconstitutional activity are responsible for
            their acts • • • That House employees, are acting
            pursuant to express orders of t}te House does not
            bar judicial review of the constitutionality of the
            underlying legislative decision. (395 o.s. at 5041.
The Court therefore permitted the suit to proceed against the
House employees in order to review the legality of the exclusion
order adopted by the members of the House.
      In reaching this co.nclusion, the Court specifically reaf-
firmed its decision in Kilbourn v. Thompson, 103 U.S. 168 <1881).
There, the House had passed a resolution ordering the Sergeant-at-
Arms to arrest and imprison a witness who had refused to respond
to a House Committee subpoena.          The witness filed a false impris-
onment suit against certain·members of the House as well as
against the Sergeant-at-Arins who had actually executed the arrest
warrant~    contending that the House resolution was unconstitu-
ti.anal..   The Court held that while the members were· immune from a
damage action. based upon their legislative act, the Sergeant-at-
Arms did not share in that immunity, even though he had merely
implemented the House resolution.          Indeed, the Court emphasized
the importance of permitting the case to proceed against the House
employee to ensure that the House's action not escape judicial
review:


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              Especially is it competent and proper for this
              court to consider whether its [the legislature's]
              proceedings are in conformity with the Constitution
              and laws, because, living under a written consti-
              tution, no branch or department of the government
              is supreme; and it is the province and duty of the
              judicial department to determine in cases regularly
              brought before them, whether the powers of any
              branch of the government, and even those of the
              legislature in the enactment of laws, have been
              exercised. in conformity to the Constitution; and
              if they have not, to treat their acts as null and
              VO id • II' 10 3 u. s . r at 19 9 • .

       The instant case is indistinguishable from Powell or
Kilbourn in this regard.        Plaintiffs her.e, as in Powell and
Kilbourn, seek judicial review of a House resolution..             Similarly,
as in Powell and Kilbourn, the legislative process has terminated
so that judicial intervention could not interfere with any ongoing
legislative activity.       Moreover, as in Powell and Kilbourn, the
implementation 9f the resolution here required the participation
of House employees.      Without the -certification and delivery of the
contempt citation to the United States Attorney, the House resolu-
tion that. Mrs. Gorsuch be prosecuted for contempt would have.had
no effect..     This case, therefore, can proceed against the House
employees who carried out the House resolution, just as the Powell
and Kilbourn actions were permitted against the House employees
who implemented the House resolutions challenged in those cases •.
       Moreover, contrary to the House's assertions, this conclusion
is perfectly consistent with the Supreme Court's Speech or Debate
analysis in cases such as Gravel v. United States, 408 U.S. 606
(1972).    In Gravel, the Court emphasized that Speech or Debate
immunity attaches to either Members or employees if the action
they took was a protected legislative act.            Thus, the Court held
that


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             • • • the Speech or Debate Clause applies
             not only to a Member but also his aides
             insofar as the conduct of the latter would
             be a protected legislative act if performed
             by the Member himself. [408 U.S. at 6211
Therefore, to qetermine whether the House employees here are
immune: from suit, it is necessary to decide whether they performed
           -                      */
"protec\:ed legislative acts. 11-    As noted by the Court in
Gravel, and in United States v. Brewster, 408 U.S. 501 Cl972),
members of Congress engage in a wide range of unprotected
activities, including constituent "errands", communicating with
federal agencies regarding their a<lministration of programs, news
releases and speeches outside the Congress.             Indeed, the Court
held in United States v. Johnson, 383 U.S. 169 (1966}, that the
Speech or Debate Clause did not immunize a Member's attempt to
                                   **/
influence the Department of Justice.- In light of the wide
range of congressional activities, the Court in Gravel cautioned
that::

*/   The Gravel analysis suggests that a distinction between
legislators and legislative employees may not be appropriate,
particularly in an action for declaratory relief~ But see Powell
v. McCormack, 395 U.S. at 517-18. Under the Gravel approach,
however, plaintiffs would be entitled to seek declaratory relief
against all defendants who participated in conduct outside the
scope of "protected legislative acts,• including Members of
Congress.
**/  ffad. the member sought to influence the Department of Justice
solely through legislative activities such as floor speeches,
committee hearings, or voting on a resolution or bill, Speech or
Debate immunity would have attached. Similarly, here, had the
defendants sought to influence the Executive Branch through
such legislative activities, they would be immune from suit.
However, when Congress took the unprecedented step of certifying
the contempt resolution to the Onited States Attorney and
purporting to require him to prosecute Mrs. Gorsuch, it went
beyond the legislative arena as did the member in Johnson who
similarly sought to influence the Executive Branch through
extra-legislative means.
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                Legisla.tive acts are not all-encompassing.
           The heart of the Clause is speech or debate in
           either House. Insofar as the Clause is construed
           to reach other matters, they must be an integral
           part of the deliberative and communicative
           processes by which Members participate in
           committee and House proceedings with respect to
           the consideration and passage or rejection of
           proposed legislation or with respect to other
           matters which the Constitution places within the
           jurisdiction of either House. [408 U.S. at 6251
     The test has been applied to immunize the issuance of a duly
authorized congressional subpoena, Eastland v. Onited States
Servicemen's Fund, 421 U.S. 491 Cl975), and the preparation of a
Committee report, 12.9!!. v. McMillan, 412    o.s.    306 <1973), because

those activities were held to be integral parts of Congress'
deliberative and communicative processes.            However., the private
publication or public distribution of materials received or
prepared by a congressional committee have been held to be
unprotected activities.      Gravel v. United States, supra;        ~      v.
McMillan,. supra.    Such activities. are simply not essential to the
internal processes of the     Congress~

     Under the· Gravel analysis, the certification and delivery of
the contempt citation to the United States Attorney in an attempt
to compel criminal pros.ecution is not a protected legislative
         */
activity.-   Those acts have nothing to do with "speech or
debate" nor are they an integral part of the House's internal
deliberative and connnunicative processes.           Instead, the

*/   The Speaker's letter of January 5, 1983 (Harris Dec., Exhibit
C), which explicitly seeks to compel the United States Attorney to
bring a criminal prosecution against Mrs. Gorsuch, is also not a
protected legislative act. See United States v. Johnson, 383 U.S.
169 {1966).


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certification*/ and delivery of the contempt citation consti-
tute an effort to enforce the legislative decision, just as the
physical exclusion of Rep. Powell by the House doorkeeper in
Powell and the arrest of the witness in Kilbourn constituted
efforts to enforce the legislative decisions reached in those
      **/
cases.~     As the Court stated in Eastland, 421         cr.s. at 508,
the arrest by the Sergeant-at-Arms of a witness who had been held
in contempt was unprotected because it was not "essential to
legislating.It   For the same reason,·the certification and delivery
in the present case are not protected legislative activities.
Therefore,. although the Speech or Debate Clause may immunize the
Member defendants for their legislative activities in this case,.
that immunity extends only through the vote on the contempt
i;esolution. by the House..   Beyond that poLot, the legislative
process ends and the enforcement process begins; any acts by the
defendants beyond that vote can therefore form the basis for
judicial resolution. of the underlying controversy as .in Powell and
Kilbourn.

*/   The House argues that the certif iction of bills and resolu-
tions are protected legislative actions and that the Department of
Justice took this posit.ion in a recent case. See Defendants'
Brief at 15,. 20. Ordinarly, this proposition is accurate because
the certification is part of the process by which a bill or
resolution becomes law •. Here, however,. 2 tJ .s.c .. § 194 provides
that certification is a necessary step in obtaining criminal
prosecution by the United States Attorney, an activity which is
not part of the process by which a bill or resolution becomes
law.
**/ Indeed, the statutes pursuant to which the contempt citation
was certified and delivered, 2 tJ.S.C. § 192 and 194, were enacted
to provide Congress with an additional means to enforce its con-
tempt resolutions as an alternative to the method employed in
Kilbourn. ~Cong. Globe, 34th Cong., 3d Sess. 427 <remarks of
Rep. Davis) (the statute "makes a mere substitution of a judicial
proceeding for the ordinary proceeding by attachment by a parlia-
mentary body"), quoted in Defendants' Brief, at 28-29.
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                 III.    Mrs .. Gorsuch Properly Withheld
                         The Documents In Dispute Under A
                         Claim Of Executive Privilege
     The Executive has asserted a privilege to withhold only a
smattering of    hard-core~   enforcement sensitive documents.         That
action was ordered by the President because he and the Attorney
General- believed disclosure of the documents could compromise
effective law enforcement,· a responsibility given the Executive by
the Constitution.       The defendants have done nothing to satisfy
their burden of showing that the privilege was wrongly asserted or
that they had a compelling need for the documents·.
            A.   The Claim of Executive Privilege Is
                 Rooted In Separation Of Powers Principles
                 And Should Be Reviewed By This Court
     Executive privilege was invoked here in order to preserve the
fundamental principle of separation of powers, Qwhich is at the
heart of our Constitution .. "'   Buckley v. Valeo, 424 U.s. 1, 119
<1976) (per curiam> ..     The judiciary has indeed often checked
actions by the other branches which represent
           an assumption by one branch of powers that
           are central- or essential to the operation of a
           coordinate branch, provided also that the
           assumption disrupts the coordinate branch in
           the performance of its duties and is
           unnecessary to implement a legitimate policy
           of the Government ..
Chadha v. Immigration and Naturalization Service, 634· F.2d 408,
425 {9th Cir. 1980).       See Bucklev v. Valeo, 424 U.S. 1, 118-24
<1976) <2er curiam}; United States v. Nixon, 418 U.S. 683 <1974);
Youngstown Sheet    &   Tube Co. v .. Sawyer, 343 U.S. 579 (1952);


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Myers v. United States, 272 U.S. 52 (1926) ..        Judicial intervention
in these disputes was essential in order to maintain the delicate
balance of powers among the branches created by the constitution.
     Congress does hav.e the power to investigate.          That power is
broad, but it. is not without limitations.        Watkins v. United
States, 354 U.S. 178, 187 <1957).         As the Supreme Court stated in
Barenblatt   v.   United States, 360 U.S. 109 at 112:
                   Lacking the judicial power given to
                   the Judiciary, it cannot inquire into
                   matters that ar~ exclusively the concern
                   of the Judiciary. Neither can it supplant ·
                   the Executive in what exclusively belongs
                   to the Executive. (emphasis added).
When the Congress uses its power to investigate in a manner that
threatens to impair the Executive's ability to fulfill constitu-
tional responsibilities, as here, the courts have stepped in to
resolve the dispute.      As the Court of Appeals for this Circuit
stated in Senate Select Committee v. Nixon, 498 F .. 2d 1·25, 729
<D .c .. Cir. 197 4) ,. in which a claim of executive privilege was
similarly invoked in response to a congressional subpoena, "it is
the responsibility of the courts to decide whether and to what
extent executive privilege     applies.'~     ~also    United States v.
Nixon, supra.      The Court of Appeals, after a thorough review of
the issues raised, concluded that the materials in question were,
indeed,. subject to a claim of executive privilege.          The court
further held that the committee had failed to demonstrate that the
materials were "demonstrably critical to the responsible fulfill-
ment of the Committee's functions" so as to overcome the claim of
privilege.    498 F.2d at 731.


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         This case is like Senate Select Committee.           As will be demon-
    strated below, the documents are subject to a valid claim of
    privilege.        Since the committee has failed to demonstrate any
    compellinq investigative need for them, the investigative inter-
    ests of the Legislative Branch must yield to the necessity for the
    Executive to preserve its ability faithfully to execute the law.
                 B.      Executive Privilege May Be Invoked For
                         Sensitive Documents In Open Law
                         Enforcement Files
         Here the Subcbmmittee's demands threatened damage to a funda-
    mental responsibility of the Executive -- the obligation to
    enforce the laws.       Therefore, in response to the demands of the
    congressiona.l subpoena here at issue, Mrs. Gorsuch followed the
    instructions of the President in interposing a claim of executive
    privilege    ~o   protect from 4isclosure materials that consist of
/                ltsensitive memoranda or notes by EPA attorneys
                 and investigators. reflecting enforcement
                 strategy, legal analysis.,. lists of potential
                 witnesses, settlement considerations and
                 similar materials the disclosure of which
                 might adversely affect a pending enforcement
                 action, overal.l enforcement policy, or the
                 rights of individua.ls.~
    Perry Dec.,. Exhibit E at 4..     This claim was based on a determina-
    tion that dissemination of such documents to the public or to
    Congress would impair the      Executiv~'s   constitutional duty to
    ensure that the laws be faithfully executed.          See U.S. Const.,
    Art .. II, § 3; United States v. Nixon, 418 U.s. 683 <1974).
    Accordingly, the claim of executive privilege has been properly
    asserted.


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       The doctrine of executive privilege defines the constitu-
tional authority_of the Executive Branch to protect documents or
information in its possession from public disclosure and from the.
compulsory processes of the legislative and judicial branches.
~United      States v. Nixon, 418 U.S. 683 <1974).          The privilege
                                          '
protects two different constitutional interests.            Executive privi-
lege protects material where disclosure would either significantly
impair the performance of the constitutional responsibilities of
the Executive or where it would interfere with its functioning as
an independent branch of government.          Id.
       Executive privilege may properly be invoked to protect
several distinct aspects of the Executive's constitutional
responsibiiities.       It may be invoked, for example, where there is
a danger that disclosure o.f the. material will impair the conduct
of foreign relations or the national security.•           ~e.g.,      United
States v. Reynolds·, 345 U.s. 1- C1953l; Balkin v. Helms, 598 F.2d 1
CD.C. Cir ... 1978).,   ~also    United States v .. Nixon, 418 U.S. at
706.    It may also be invoked to shield confidential deliberative
communications which. have been generated within the Executive
Branch from compulsory disclosure, unless there is a strong
showing that access to the documents is critical to the responsi-
ble fulfillment of a constitutional function.            See Nixon v.
Administrator of General Services,. 433 U.S. 425, 441-55 (1977);
United States v. Nixon, 418 U.S. 683, 711-12 Cl974}; Senate Select
Committee v. Nixon, 498 F.2d 725, 730-31 (D.C. Cir. 1974)


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<.!a,. bane). Similarly, it may be invoked to protect from disclosure
investigative files compiled for law enforcement purposes.
                                                                            -See
Ass'n For Women !n Science v. Califano, 566 F.2d 339, 343 CD.C •.
Cir. 1977>; Black v. Sheraton Corn. of America, 564 F.2d 531 CD.C.
Cir. 1977).,
       The assertion of a claim of executive privilege is based on
the practical need for the       confidenti~lity     of communications
within the Executive Branch to carry out its constitutional
responsibilities, as well as the doctrine of separation of powers
that provides· that each branch of government is "suprem(eJ
within its own assigned area of constitutional duties."               United
States v. Nixon, 418 U.S. at        705~   In United States v. Nixon, the
Court recognized the need for confidentiality within the Executive
Branch to assist the President in the discharge of his constitu-
tional powers and duties, by ensuring discussion that is free-
flowing and frank, unencumbered by fear of disclosure or intrusion
by the public or the other branches of government.               It stated that
"[hluman experience teaches that those who expect public dissem-
ination of their remarks may well temper candor with a concern for
appearances and for their own interests to the detriment of the
decisionmaking process."        United States v.      Nixon, 418 U.S. at
705.    Such "temper(ed] candor"' in executive deliberations would
impede· the President's performance of his constitutional duty to
exercise the Executive powers granted in Art. II,            §   3 of the
Constitution.     ~Nixon       v. Administrator of General Services,




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433 U.S. 425 <1977); United States v. Nixon, 418 U.S. at
1os.V
         Because its invocation is infrequently challenged in court,
there· has not been much litigation. in the area of executive privi-
lege..     However, courts have long recognized the need for the
privilege in the area of civil discovery with respect to nintra-
governmental documents reflecting advisory opinions, recommenda-
tions and deliberations comprising part of a process by which
governmental decisions and policies are formulated.w                Carl Zeiss
Stiftung v. V.E.B. Carl Zeiss, Jena, 40 F.R.D. 318, 324 CD.D.C.
1966), aff'd      ~·sub      .!!2.!!· V.E.B .. Carl Zeiss, Jena v. Clark, 384
F .2d 979, cert denied, 389 U.S .. 952 ( 1967).          ~    Kaiser Aluminum     &

Chemical Corp. v. United States, 157 F. Supp. 939 CCt. Cl. 1958).
         In addition, the <?ourts .have recognized that a .related privi-
lege, commonly.known as the law enforcement evidentiary privilege,
protects from disclosure investigative files compiled for law
enforcement purposes..        Black v .. Sheraton Corp. of America, 564
F.2d 531. (D.C .. Cir. 1977).       See United States v. A.T.&T., 86
F.R.D. 603,. 639-42 CD.D.C. 1979).            courts have long recognized a
strong public interest in minimizing the disclosure of documents
which would tend to reveal law enforcement strategies, investiga-
tive techniques or sources.          ~      e:.q., NLRB v. Robbins Tire       &

Rubber Co., 437 U.S. 214, 224-25 ( 1978); Black v. Sheraton Corp.,

*)    The Supreme Court and lower federal courts have made clear
that the presumption of confidentiality accorded executive
communications is intended to protect not only the substance of
sensitive communications but the integrity of the decision-making
process within the Executive Branch as well. See Nixon v.
Administrator of General Services, suora; Sena~Select Committee
v. Nixon, supra; Nixon v. Sirica, 487 F.2d 700 (D.C. Cir. 1973)
 (en bane).

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564 F.2d at 535, 536; Center for National Policy Review on Race
and Urban Issues v. Weinberger, 502 F.2d 370, 374 CD.C. Cir.
1974}; Aspin v. Department of Defense, 491 F.2d 24 <D.C. Cir.
1973); Frankel v.      ~r    460 F.2d 813, 817-18 <2d Cir.), cert •.
denied, 409 U.S. 882 (1972); Jabara v. Kelly, 62 F.R.D. 424 (E.D.
Mich .. 1974); Philadelphia Resistance v. Mitchell, 63 F.R.D. 125
<E .. D. Pa. 1972>.    ~generally
                                     .   2 Weinstein's Evidence !509[071
{1975).     This privilege is rooted in the same concerns as the
privilege accorded to intra-governmental documents -- the need to
                                                              ~



minimize. disclosure of documents the revelation of which would
both impair the functioning of the Executive Branch in its law
enforcement efforts. and impair its ability to operate as an
independent branch of government.           ~Black      v. Sheraton Corp. of
America, 564 F.2d at 542 ..
     Effective law enforci:ment relies heavily on the assurance of
confidentiality within the enforcement process.              The need for
confidentiality is even stronger, of course, while. enforcement is
being carried out and. enforcement policies and strategies are
still being developed.         Without that assurance of confidentiality,
efforts of the Executive Branch to enforce the law effectively
would be undercut by disclosure of· sensitive investigative techni-
ques, methods or strategies, forewarning of suspects under
investigation, deterrence of witnesses from coming forward,
endangering the safety of confidential informants or prejudicing
the rights of those under investigation.             Moreover, disclosure of
investigative files in a particular case could interfere with
ongoing administrative enforcement proceedings and could obviously


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prejudice or harm the government's case.          See e.g., NLRB v.
Robbins Tire & Rubber Co., 437 U.S. 214, 224-25 (1978); Center for
National Policy v. Weinberger, 502 F.2d 370, 374 CD.C. Cir. 1974);
Aspin v .. Department of Defense, 491 F.2d 24, 29-30 CD.C. Cir.
1973); Frankel. v.    ~,   460 F.2d 813, 817-18 C2d Cir .. ), cert.
denied, 409 U.S. 882 Cl972); Kincy v. Mitchell, 67 F.R.D. 1, 11-12
CS.D. N.Y. 1975) ..   Indeed, the government may shrink from conduct-
ing a thorough investigation if there is a risk that the informa-
tion gathered. may be prematurely disclosed..        Perhaps most
importantly, the fear exists that the integrity, impartiality and
fairness of the law enforcement process as a whole would be
damaged if sensitive material were distributed beyond those
persons necessarily involved in the investigation and prosecution
process..   ~Perry     Dec., paras •. 17, 18, 24, 32 and 33; Dinkins
                 */
Dec., paras. 6-9.-
     The disclosure of open law enforcement files could also
seriously impair the Executive Branch's functioning as an

*/ Congress itself has recognized the vital importance for such a
privilege in the Freedom of Information Act, which greatly
expanded information that government agencies must make available
to the public. That Act specifically contains an exemption for
certain types of investigatory records compiled for law enforce-
ment purposes .. 5 U.S.C. §552(b}(7) .. As the Second Circuit con-
cluded in analyzing the purposes. behind the §552Cb) (7) exemption:
                (the Senate and Erouse Reports] indicate
                that Congress had a two-fold purpose in
                enacting the exemption for investigatory
                files: to prevent the premature disclosure
                of the results of an investigation so that
                the Government can present its strongest
                case in court, and to keep confidential
                the procedures by which the agency conducted
                its investigation and by which it has obtained
                information. Both these forms of confiden-
                tiality are necessary for effective law
                enforcement. Frankel v. SEC, 460 F.2d 813
                817 <2d Cir.), cert. denied:; 409 U.S.
                889 (1972}.
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independent branch of      government~     Were the documents at issue
here disclosed to congressional subcommittees, members of Congress
would become partners in the enforcement process, possessing the
information necessary to participate in or interfere with ongoing
enforcement actions.       The Executive Branch would lose control of
the documents and. thus would be unable to ensure that the
strengths and.weaknesses of the government's .case not be revealed
to the targets of the case under development.
     As stated by the Attorney General, in explaining the bases
for the invocation of the privilege in the instant case, there is
ample historical precedent for the assertion of privilege to
preclude disclosure to the Congress of sensitive memoranda in
files of ongoing law enforcement cases ..
             The policy which r reiterate here was first
             expressed by President Washington and has·
             been reaffirmed by or on behalf of most of
             our Presidents including Presidents Jefferson,
             Jackson, Lincoln, Theodore Roosevelt,
             Franklin Roosevelt, and Eisenhower. I am
             aware of no President who has departed from
             this policy regarding the general conf iden-
             tiality of law enforcement files.
Perry Dec., Exhibit E at 5 ..
     Executive privilege has. been invoked throughout the history
of the United. States by virtually all. of our Presidents in
response to Congressional demands for information.              See The
Committee Report, p. 90 (Memorandum for the Attorney General,
History of Executive Privilege vis-a-vis Congress, December 14,
1982).    Many of these claims were made to prevent the disclosure
of investigatory files.        See id., p. 94-95 (President Monroe);
p. 96-97 (President Jackson); p. 99-100 (President Tyler); p. 103


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President Buchanan); p •. 103-04 <President Lincoln>; p. 104 CPresi-
dent Johnson>; p. 105 (President Cleveland); p. 106-07 {President
Theodore Roosevelt); p. 107 (President Coolidge>; p. 107-08
<President Franklin Roosevelt>; p. 109-110 <President Truman).
~also      Cox, Executive Privilege, 122        u.       Pa. L. Rev. 1383,
1400-02 and nn. 61-67.

     Thus, it has been the general policy of the Executive Branch
throughout this Nation's history to withhold from Congress sensi-
tive documents from open law enforcement files except in the most
extraordinary circumstances.         For example, President Tyler invoked
executive privilege against a request by the House of Representa-
tives to the Secretary of War to produce investigatory reports
submitted to the Secretary by Lieutenant Colonel Hitchcock
concerning his investigation into frauds perpetrated against the
Cherokee Indians.      ~The      Committee Report, p. 99-100.
Similarly, President Truman invoked. the privilege and directed
officials not to disclose· files bearing on the loyalty of certain
State Department employees after the Senate subpoenaed those
files~    See id. at 109-lJ.O..     And President Franklin Roosevelt
directed Attorney General Jackson to invoke the privilege con-
cerning a House request to view certain FBI records.                 See id. at
107-08.    As Attorney General. Robert Jackson stated to Congress
over forty years ago:
                                                     )
                 It is the position of [the] Department
            [of Justice], restated now with the approval
            of and at the direction of the President, that


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           all investigative reports are confidential
           documents of the executive department of the
           Government, to aid in the duty laid upon the
           President by the Constitution to 'take care
           that that laws be faithfully executed,' and
           that congressio'nal or public access to them
           would not be in the public interest.
                Disclosure of the reports could not do
           otherwise than seriously prejudice law
           enforcement. Counsel for a defendant or
           prospective defendant, could have no greater
           help than to know how much or how little
           information the Government has, and what
           witnesses or sources of information it can
           rely upon. This is exactly what these
           reports are intended to conta~n.
40 Op. A.G .. 45, 46 Cl94l).

     Attorney General Smith also relied upon the reasoning of
former Assistant Attorney General Thomas F. Kauper, who stated:
           The Executive cannot effectively investigate
           if Cong~ess is, in a sense, a partner in the
           investigation. If a congressional committee
           is fully apprised of all details of an
           investigation as the investigation proceeds,
           there is a substantial danger that congres-
           sional pressures will influence.the course of
           the investigation.
Exhibit F, p .. 3.
     The Attorney General found that promises of confidentiality
by· a congressional committee or subcommittee do not remove the
basis for the policy of nondisclosure of law enforcement files.
He agreed with the position stated by Attorney General Jackson in
writing to Congressman Carl Vinson, then Chairman of the House
Committee on Naval Affairs, in 1941:




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                I am not unmindful of your conditional
          suggestion that your counsel will keep this
          information 'inviolate until such time as the
          committee determines its disposition.' I have
          no doubt that this pledge would be kept and.
          that you would weigh every consideration
          before making any matter public.. Unfortu-
          nately, however, a policy cannot be made
          anew because of· personal confidence of the
          Attorney General in the integrity and good
          faith of a particular committee chairman ..
          We cannot be put in the position of
          discriminating between committees or of
          attempting to judge between them, and their
          individual members, each of whom has acc~ss
          to information once placed in the hands of
          the committee ..
     As the Attorney General noted, Assistant Attorney General
Kauper articulated additional considerations in explaining why
congressional assurances of confidentiality could not overcome
concern over the integrity of law enforcement files:
          (Sluch assurances have not led to a relaxation
          of the general principle that open investiga-
          tive files will not be supplied to Congress,
          for several reasons. First, to the extent
          the principle rests on the prevention of
          direct congressional. inf l.uence upon
          in.vestigations in progress, dissemination
          to the Congress, not by it, is the critical
          factor. Second, there is the always present
          concern,. often factually justified, with
          'leaks.' Third, members of Congress may
          comment or publicly draw conclusions from
          such documentsF without in fact disclosing
          their contents ..




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Perry Dec., Exhibit F, p .. 6.*/       There are, therefore,. a
number of compelling reasons why documents such as those at issue
here must remain privileged and why           ~caJt   bottom, the President
has the responsibility vested in him by the Constitution to
protect the confidentiality of certain documents which he cannot
delegate to the Legislative Branch."".         Id., p •. 7.
                c.    The Documents At Issue In This
                      Case Are Properly Subject To
                      A Claim Of Executive Privilege
     The administration of the Superfund Act involves a continuous
process of investigation and law enforcement efforts..             The process
may ultimately result either in an administrative action, criminal

*/ Guarantees of confidentiality by the Levitas Subcommittee can
not overcome the concern over the integrity of law enforcement
files in this instance either. · Rule XI, c.l.2, § 706c of the Rules
of the House of Representatives provides that "[a]ll committf!e
hearings'" records, data, charts, and files •         shall be the
property of the House and all members of the House shall have
access thereto . . . . . .
                         3
                           <emphasis added>-:--Thus, Subcommittee
access to the documents is equivalent.to access by all of the
members of the- House of Representati.ves and, accordingly, to the
general public. Nor will an offer to receive the privileged
documents in "executive session'*' pursuant to Rule xr, ci.2, § 712
of the Rules of the House of Representatives a.lleviate that
concern. The only protection given the documents. by tpat
provision is that. they shall not be made public without the
consent of the Subcommittee. Since such consent could be given
any time in the future, this assurance fails to provide the
Executive the protection and control to which it is
constitutionally entitled.
     Furthermore, there. is always the possibility that information
will be leaked to the public by House members or their staffs •.
Although the same danger exists in the Executive Branch, the
Executive can assert control. over Executive Branch employees
through a variety of potential sanctions, including loss of
employment. With disclosure of documents to Congress, the Execu-
tive Branch loses that power to ensure the confidentiality of its
records. Oltimat,ely, it is the Executive's responsibility to
enforce the law and to maintain the confidentiality of information
that is necessary for this purpose.

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prosecution or civil litigation.            As such, the enforcement func-
tions of EPA under the Superfund are similar to those functions
carried out by the FBI or the Department of Justice in a criminal
prosecution.       Accordingly, the same concerns for protecting the
law, enforcement investigatory files of those agencies are equally
applicable with respect to the enforcement of the Superfund
program.      Cf. Center for National Policy Review v. Weinberger, 502
F.2d 370, 373 CD.C. Cir. 1974).
      The documents which form the focus of this dispute are all
part of open law enforcement case files.             A number of cases are in
early stages of investigation, where public disclosure could be
particularly destructive.          Many of the documents contain EPA's
proposed settlement strategies, including the bottom-line figure
it would accept from a particular responsible party.                The memo-
randa also describe, in detail, anticipated defenses, the elements
of proof required in a given case, the legal issues involved and
possible precedential impact.           Also included are lists of poten-
tial witnesses and descriptions of available evidence.                Perry
Dec .. , para. 16.
      Threatened disclosure of these documents raises. serious
fears..     The documents in question all stem from ongoing
enforcement actions which EPA and/or the Department of Justice are
developing for litigation or which are actually being litigated in
the courts.       Thus, disclosure of these documents would reveal the
strategy of the investigation and forewarn the suspects under
investigation.       It would also undercut the investigation of the
hazardous waste sites by premature disclosure of the facts of the
government's case.        Such information would be of obvious benefit


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to the targets of the investigation and destroy the adversarial
element crucial to the law enforcement process.            For example, EPA
would be at an enormous disadvantage in attempting to negotiate an
environmentally appropriate settlement agreement with a party who
knew EPA's. bottom-line settlement position, its negotiation
strategy, and its perception of the strengths and weaknesses in
the government's case.       In addition, the withheld documents
identify potential targets for enforcement actions; the disclosure
of those names could have great impact upon those persons
identified, by harming the reputation of possibly innocent
persons ..
      Moreover, the information sought is not factual data, which
has already been made available to the Subcommittee.             Rather, the
documents withheld cons.ist of legal and strategic analyses of
indi.vidual cases, lists of potential witnesses, settlement
considerations and similar materials.          These are the kind of work
product documents that would be immune· from production under Fed.
R. Civ. Proc. 26CbJ(3}.
      Thus, in this instance, the need for the privilege is very
strong.      As demonstrated below, Congress cannot overcome the
presumption of the privilege in this instance because it cannot
establish a compelling and specific need for the documents.
                 o.    Congress Has Not Shown A Specific
                       And Compelling Need For Disclosure
                       Of The Documents That Overcomes
                       The Presumption Of Executive
                                 Privilege
      Defendants seem to assert an absolute right to any documents
held by the Executive; at least, they insist that the House should
be the sole arbiter of what documents the Executive may withhold.


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As discussed above, that simply is not the law.           Instead, while
executive privilege is not absolute, it may be overcome only by a
specific showing that Congress has a compelling need for the docu-
ments in question.     ~pp.      54-55, supra.     In some cases, there
may be a need for delicate balancing of competing interests.
Here, however, the decision is an easy one because the Subcom-
mittee has made no showing whatsoever of a specific need for the .
_documents in question ..
     The power of Congress to conduct investigations is inherent
in the legislative process..      When this "power of inquiry" is
directed at the Executive Branch, however, it is bounded by
principles imposed by the separation of powers doctrine..            ~

Senate Select Committee v. Nixon, supra.          Thus, the power of
Congress to investigate is subject to claims by the Executive that
the release of certain information would impair the President's
obligation to discharge the responsibilities assigned to him by
the constitution.     ~     p. 54, supra.    When such a claim is inter-
posed, it cannot be overcome absent a showing of some compelling
need for the information sought.        See Senate Select Committee .v.
Nixon, supra, 498 F.2d: at 730; United States v. A.T.&T., 567 F.2d
121 CD.C .. Cir. 1977).     Indeed, this Circuit has held that the
general oversight and fact-finding functions of a particular
congressional committee were insufficient to override the inter-
ests of the Executive Branch in protecting privileged information
from disclosure.     See Senate Select Committee v. Nixon, supra, 498
F.2d at 732.    The Court in Senate Select Committee contrasted the
general congressional interest in oversight and fact-finding with
the specific and compelling need for disclosure in the face of a


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grand jury subpoena, such as that involved in Nixon v. Sirica, 487
F.2d 700 CD.C. Cir. 1973).
         The subcommittee here has not and indeed cannot show any
need -- much less any compelling need -- for the withheld docu-
ments. sufficient to overcome the valid claim of privilege invoked
                                                                         ,
by the Executive Branch. The Subcommittee issued the subpoena in
questi9n in order ttto review the integrity and effectiveness of
EPA's enforcement program and to evaluate the adequacy of existing
law."'    The Committee Report, p. 61.         (Legal Memorandum of the
General Counsel to the Clerk of the House of Representatives to
Chairman Levitas Regarding Executive Privilege, December 8, 1982).
The information requested is very broad in scope and the reasons
for the request are very general. It is difficult to understand
why the withheld documents, a small number of sensitive materials
from open law enforcement files, are necessary to enable the
Subcommittee to conduct its investigation.             What is critical,
however, is that the House cannot possibly make a showing that
they are necessary because the House has not reviewed the docu-
ments actually made available to it.            In fact, the Subcommittee
actually refused. to inspect the documents produced.              Perry Dec.,
para. 25.      Since the Subcommittee refuses to inspect the tremend-
ous bulk of material that has been offered, i t cannot possibly
show any compelling need for the miniscule number of documents
                              *'I
that have been withheld.-

*/   Moreover, the Subcommittee has not shown that whatever
information it may have wanted from EPA could not have been
obtained by some means other than the production of sensitive law
enforcement documents from open Superfund Act enforcement files.
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     Moreover,. the access that has been denied to the Subcommittee
is only temporary.      EPA has offered to turn over memoranda in the
enforcement files as they lose their enforcement sensitivity.               The
Subcommittee has failed to demonstrate why its need to view these
documents is critical at this point and cannot wait until the
sensitive nature of the documents has abated.
     Furthermore, the documents that have been made available to
the Subcommittee may well fulfill its legislative needs.             They
consist of    n~tes   and internal memoranda from both open and closed
cases involving enforcement of the Superfund.           The documents
include data on the amounts, nature, and origin of wastes present
at hazardous waste sites; correspondence between EPA and the
generators of the hazardous waste; records of interraction with
state and local. government officials; correspondence with
responsible parties, contractors, state officials and representa-
tives of other federal. agencies; memoranda discussing the a.lloca-
tion of monies to     part~cular   sites by EPA; cooperative agreements
arranged with the states involved; and memoranda reflecting the
process of having: the. Superfund Office begin working on a site
while initiating settlement negotiations with the contractor.
Perry Dec·., para. 16..    A review of these materials would certainly
enable the Subcommittee to conduct a detailed and comprehensive
investigation of the adequacy of EPA's Superfund enforcement
efforts.     They reflect the various steps that have been taken
concerning numerous hazardous waste sites.          An evaluation of the

effectiveness of the law as it has been applied and implemented by
EPA clearly may be culled from these documents.


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     Accordingly, defendants have not and cannot meet their burden
of demonstrating a specific, articulable need for the documents in
question that would overcome the presumption of the asserted
privilege.    They have not even attempted to demonstrate such a
specif.ic need nor attempted to accommodate the interests of
confidentiality required by the Executive in its law enforcement
efforts.     Instead, they continue to rely on the Subcommittee's
generalized request for production of documents, failing to
recognize that such a request is insufficient in and of itself to
overcome the constitutionally protected interests of another
branch of the government..     Since defendants cannot establish any
compelling need for the documents in question sufficient to over-
come the claim of privilege, the Court should enter a judgment
declaring that the Administrator acted lawfully in refusing to
disclose ·them to the Subcommittee.
                                CONCLUSION
   · For all of the foregoing reasons, the plaintiffs' motion for
swnmary judgment should be granted •.
                                   Respectfully submi tt~,'

                                      QrgJ r1!t~li

                                   RICHARD K. WILLARD
                                   Deputy Assistant Attorney General



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                            LEWIS K. WISE




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